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                                 Exhibit 1
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                          Short Sellers and Financial Misconduct


                               Jonathan M. Karpoff and Xiaoxia Lou*



                                               Abstract

         We examine whether short sellers detect firms that misrepresent their financial
         statements, and whether their trading conveys external costs or benefits to other
         investors. Abnormal short interest increases steadily in the 19 months before the
         misrepresentation is publicly revealed, particularly when the misconduct is severe.
         Short selling is associated with a faster time-to-discovery, and it dampens the share
         price inflation that occurs when firms misstate their earnings. These results
         indicate that short sellers anticipate the eventual discovery and severity of financial
         misconduct. They also convey external benefits, helping to uncover misconduct
         and keeping prices closer to fundamental values when firms provide incorrect
         financial information.



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   Short selling is a controversial activity. Detractors claim that short sellers undermine

   investors’ confidence in financial markets and decrease market liquidity. For example, a short

   seller can spread false rumors about a firm in which he has a short position and profit from the

   resulting decline in the stock price.1 Advocates, in contrast, argue that short selling facilitates

   market efficiency and the price discovery process. Investors who identify overpriced firms can

   sell short, thereby incorporating their unfavorable information into market prices. In his

   account of short selling in Allied Capital, Inc., hedge fund manager David Einhorn argues that

   short sellers even help uncover financial reporting violations (Einhorn 2008).2

           In this paper we investigate whether short sellers do in fact identify overpriced firms,

   and whether in the process they convey external benefits or harms upon other investors. We do

   so by measuring short selling in a set of firms that, ex post, clearly were overpriced: those that

   are disciplined by the SEC for financial misrepresentation. In our sample of 454 firms from

   1988 through 2005, 96% have negative abnormal returns on the days their misconduct was

   publicly revealed, with an average one-day stock price decline of 18.2%. So these firms

   provide a natural test of the view that short sellers can anticipate bad news.

           The results of three tests indicate that short sellers are proficient at identifying financial

   misrepresentation before it becomes public. First, abnormal short interest rises significantly in

   the 19-month period before the misrepresentation is publicly revealed. Second, the amount of

   short selling is positively related to measures of misconduct severity, indicating that short

   sellers take larger positions when the misrepresentation is particularly egregious. And third,

   1
     There are many anecdotes about such strategies, which former SEC Chairman Christopher Cox (2008) called
   “distort and short.” In 2000, for example, investor Mark Jakob turned a $241,000 profit by shorting Emulex stock
   and spreading an internet rumor that Emulex’ CEO was stepping down amid an SEC investigation (see
   http://www.sec.gov/litigation/litreleases/lr16747.htm and http://www.sec.gov/litigation/litreleases/lr16857.htm).
   Leinweber and Madhavan (2000) report a case in which investors shorted Sea World stock and spread false
   rumors that Shamu, Sea World’s main attraction, was ill. For other examples, see Barr (2006).
   2
     Lamont (2004) and Jones and Lamont (2002) summarize the debate over whether short selling fosters market
   efficiency or facilitates harmful manipulation. See also Wilchins (2008).




                          Electronic copy available at: http://ssrn.com/abstract=1102853
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   short interest-based indicators of financial misrepresentation in any given firm-month are

   significantly related to the actual presence of misrepresentation, as revealed in subsequent SEC

   documents.

           We also investigate whether short selling has external effects on other investors. We do

   not find evidence that short selling imposes external harm by triggering a cascade of selling

   when the misconduct is publicly revealed. To the contrary, short selling conveys positive

   externalities to other investors, in two ways. First, the amount of prior short selling is

   positively related to how quickly the misconduct is publicly revealed. Our point estimates

   indicate that, among firms that are twelve months into their misrepresentation, those with

   abnormal short interest at the 75th percentile will be publicly revealed eight months before

   firms at the 25th percentile.

           Short sellers’ second external benefit is that they dampen the amount by which prices

   are inflated while firms report incorrect financial statements. This improves price efficiency

   and decreases the transfer from uninformed investors who buy shares from insiders or the firm

   before the misconduct is revealed to the public. We estimate that this price impact translates

   into savings for uninformed investors that average 1.67% of the firm’s market capitalization.

   Some of these savings are captured by short sellers, who earn profits that average 0.58% of

   equity value. Even net of such profits, the average net external benefit to uninformed investors

   equals 1.09% of the firm’s equity value.3

           These findings do not address whether short selling in general is informed and

   beneficial for other investors. For example, we cannot rule out the possibility that some short

   sellers are noise traders, or that some seek to manipulate prices through false rumors. But in

   3
    These point estimates reflect our first measure of abnormal short interest, ABSI(1). Depending on the specific
   measure, our point estimates of the net external benefit range from 0.19% to 1.53% of equity value. See section
   V.C and Table IX below.
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   our events – in which company managers produce falsified financial statements – short sellers

   play a significant role in identifying, uncovering, and mitigating the effects of financial

   misconduct.

                                             I. Related research

           Our investigation is related to a large body of research that examines whether short

   sellers target overvalued stocks.4 The results are somewhat mixed. Asquith and Meulbroek

   (1996) and Desai, Ramesh, Thiagarajan, and Balachandran (2002) find that highly shorted

   stocks in one month tend to underperform in the next month, and Diether, Lee, and Werner

   (2009) find that short sellers appear to take advantage of short-term overreaction in stock

   prices. Christophe, Ferri, and Angel (2004), Christophe, Ferri, and Hsieh (2009), and Liu, Ma,

   and Zhang (2008) find that short selling increases before negative earnings announcements,

   analyst downgrades, and mortgage loss-related write-downs. In contrast, Daske, Richardson,

   and Tuna (2005) do not find any predictive ability of short selling, and Henry and Koski (2007)

   find no evidence of informed short selling around SEO announcements.

           Our empirical tests employ measures of abnormal short interest that condition on firm

   characteristics, and thus are related to inquiries into whether short sellers use information about

   firm fundamentals. Dechow et al. (2001), Asquith, Pathak, and Ritter (2005), and Duarte, Lou,

   and Sadka (2008) find that short interest is related to market capitalization, book-to-market,

   and momentum. Richardson (2003) fails to find evidence that short sellers target firms with

   high accruals. But Cao, Dhaliwal, and Kolasinski (2006) find that short sellers do target firms

   with high accruals after controlling for surprises in earnings announcements. We find that




   4
     See Figlewski (1981), Asquith and Meulbroek (1996), Desai, Ramesh, Thiagarajan, and Balachandran (2002),
   and Asquith, Pathak, and Ritter (2005).
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   short interest is related to accruals, as well as market capitalization, book-to-market,

   momentum, insider selling, institutional ownership, and share turnover.

              Three prior studies are most closely related to ours. Dechow, Sloan, and Sweeney

   (1996) report an increase in short interest in the two months before an SEC release in a sample

   of 27 Accounting and Auditing Enforcement Releases. Desai, Krishnamurthy, and

   Venkataraman (2006) and Efendi, Kinney, and Swanson (2006) examine short selling before

   the accounting restatements in the database compiled by the General Accounting Office (GAO)

   (2003).5 Our investigation differs from these papers in several ways. We introduce several

   controls for the severity of the misconduct, allowing us to infer whether short selling affects

   stock prices directly, or whether it merely serves as a proxy for misconduct severity. We

   examine whether short selling tends to concentrate in the misconduct firms. And we estimate

   the external effects on uninformed investors – including whether short selling helps to expose

   financial misconduct and whether it dampens price inflation during the violation period. The

   Internet Appendix contains a tabular summary of the results that are new to this paper.

              The data we use also provide for more powerful tests than the GAO (2003) restatement

   data. Hennes, Leone, and Miller (2008) report that 76% of the restatements in the GAO

   database are simple errors rather than misrepresentation or fraud, a concern also expressed by

   Files, Swanson, and Tse (2008). This suggests that the GAO database contains a large number

   of misclassified events. Even when restatements do reflect financial misconduct, they can

   occur many months after the misconduct is public knowledge. In our sample, SEC inquiries

   into financial misconduct are not resolved until 41 months after the initial public revelation, on

   average. Using a restatement that is made during or after that 41 month period will misclassify

   when the misrepresentation was or was not public knowledge.
   5
       Due to a name change in 2004, the GAO is now called the Government Accountability Office.
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                                              II. Data and short interest measures

              A. Financial misrepresentation data

                      To avoid such data problems, we use the Karpoff, Lee, and Martin (2008a,b) (hereafter

              KLM) database to identify all 632 SEC enforcement actions for financial misrepresentation

              initiated from 1988 through 2005.6 These data identify the period during which the

              misrepresentation occurred and also the trigger event, which is the initial public revelation of

              the misconduct. This allows us to focus on short selling around the initial public revelation.

              Short interest data are available for 474 of the 632 firms, and 454 firms have sufficient data on

              CRSP to calculate returns on their revelation dates.

 Insert
Figure 1
                      To illustrate the nature of our data and tests, it is useful to review the sequence of
 here.
              events that constitute an SEC enforcement action.7 These events are summarized in Figure 1.

              Most enforcement actions follow a conspicuous trigger event that publicizes the potential

              misconduct and attracts the SEC’s scrutiny. Common trigger events include self-disclosures of

              malfeasance, restatements, auditor departures, and unusual trading. Here are two examples of

              trigger events from our sample:

                  1. On November 21, 2000, Lucent Technologies Inc. announced that it had identified a

                     revenue recognition issue in its already-reported fourth quarter report as the company

                     was completing its financial statements for the fiscal year of 2000. The company also

                     told investors not to rely on its first-quarter forecast of 2001. Share prices fell 16% on

                     the announcement day.
              6
                Karpoff, Lee, and Martin (2008a, page 10) report that the database is collected from “…Lexis-Nexis’
              FEDSEC:SECREL library for information on SEC securities enforcement actions, the FEDSEC:CASES library
              for information on litigated enforcement actions, and the Academic Business News, General News, and Legal
              Cases libraries for news releases (frequently issued by defendant firms) about each enforcement action … the
              SEC’s website at http://www.sec.gov, which contains all SEC public releases relating to enforcement actions
              since September 19, 1995… the Department of Justice itself, which provided … further data on enforcement
              outcomes [, and] the Department of Justice’s Corporate Fraud Task Force website at http://www.usdoj.gov.”
              7
                The following two paragraphs follow section III in Karpoff, Lee, and Martin (2008b).
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                2. On November 13, 2003, Virbac Corporation announced that it was delaying filing its

                   third quarter 2003 Form 10-Q. Share prices fell 22% on the announcement day.

                    Following a trigger event, the SEC gathers information through an informal inquiry that

             may develop into a formal investigation of financial misconduct. At this point the SEC may

             drop the case, in which case it does not appear in our sample. If the SEC proceeds, it typically

             sends a Wells Notice to prospective defendants, notifying them that it intends to begin

             enforcement proceedings. It then imposes administrative sanctions and/or seeks redress

             through civil actions. Some cases are referred to the Department of Justice and lead to criminal

             charges as well. The SEC releases its findings and penalties in its Administrative Releases and

             Litigation Releases, and every enforcement action in our sample has at least one such release.

             These releases provide detailed information on the period over which the misrepresentation

             occurred – which we label the violation period – as well as other information that we use in our

             empirical tests.

Insert              As reported in Table I, the events illustrated in Figure 1 typically take several years to
Table I
here.
             play out. In our sample of enforcement events, the median length of the violation period is 24

             months, and the median length from the beginning of the violation until its initial public

             revelation is 26 months. From the initial public revelation until the end of the enforcement

             action takes an additional 41 months. Table I shows that the number of enforcement actions,

             the median violation period, and median period from the beginning of the violation to its public

             revelation generally increased from 1988 to 2005.

                    Panel A of Table II reports that news about financial misrepresentation is associated

             with large declines in stock price. Return data are available for 454 of our sample firms. For

             359 of these firms, the trigger event reported in the KLM database is identified in the SEC’s
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              administrative and litigation releases. The mean one-day market-adjusted return on the SEC-

              identified trigger date is –20.7%, and the median is –15.0%.

 Insert              For 95 of our events the SEC identified no trigger date, or the KLM database indicates
Table II
 here.
              that there was an earlier public revelation of the misconduct. In 37 of our events, for example,

              the start of a class action lawsuit is the earliest public revelation of the misconduct. The mean

              one-day market-adjusted return for these 37 cases is –5.9%. Other less common revelation

              dates include the announcement of a formal SEC investigation (22 events), an informal SEC

              inquiry (15), the initial regulatory action and SEC release (12), and bankruptcy filings (8). For

              all 95 of the revelation dates that are not identified by the SEC, the mean one-day market-

              adjusted return is –8.9%.

                     Averaging over all 454 initial revelation dates, the mean abnormal return is –18.2% and

              the median is –11.1%. In the tests that follow we use data from all 454 events. The results are

              qualitatively identical, however, if we limit the sample to the 359 events for which the SEC

              identified the trigger date. Either way, these results indicate that public announcements that

              firms violated financial reporting rules are associated with large declines in share values.

              These are exactly the types of event that benefit short sellers.

                     Panel B of Table II reveals that share prices tend to decrease further when additional

              news about the misrepresentation is revealed to the public. The announcements in this panel

              include SEC informal inquiries, SEC formal investigations, Wells Notices, the initiation of

              regulatory proceedings, the initiation of class action lawsuits, and bankruptcies. A total of 371

              of the 454 events have a second announcement. The mean one-day return for these 371 second

              announcements is –9.6%. A total of 274 events have a third announcement, with a mean one-

              day return of –7.2%. Combining all 844 subsequent announcements in Panel B, the mean one-
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   day return is –7.3% with a t-statistic of –15.3. These numbers indicate that subsequent

   information about these firms’ financial misconduct – even after the initial public revelation –

   also tends to be unfavorable.



   B. Short interest data and related data

           Our tests examine the ability of short sellers to depict the misrepresentation before it is

   publicly revealed. So we focus on short interest during the violation period immediately before

   the initial public revelation dates that are summarized in Panel A of Table II. Monthly short-

   interest data are obtained from the New York Stock Exchange (NYSE), the American Stock

   Exchange (AMEX), and NASDAQ covering the period from January 1988 to December 2005.8

   Short interest reflects the open short positions of stocks with settlements on the last business

   day on or before the 15th of each calendar month. Settlement, however, takes a few days, and

   for a short sale transaction to be recorded in month t, it must occur before or on the trade date.

   Before June 1995, the trade date was five days before the settlement date, and currently it is

   three days before. We define month t as starting from the day after the trade date of calendar

   month t−1 and ending on the trade date of calendar month t. Raw short interest for firm i in

   month t, SIit, is the percent of total shares outstanding in month t. The pooled mean level of SIit

   over all months for all firms covered by the short interest data is 1.65%.

           Monthly stock returns and market capitalization are constructed from daily data

   obtained from CRSP using the month definition explained above. Some of the analysis

   requires data on past returns and institutional ownership. Consequently, we use CRSP data


   8
     Daily data from January 1, 2005 through August 6, 2007 recently have become available to researchers. These
   data, however, cover only a small number of the enforcement actions in our sample. The daily data also do not
   contain information about short positions that are covered, making it impossible to compute net changes in short
   interest. The monthly data therefore are well suited to our tests.
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   from January 1987 through December 2005. We obtain data on institutional ownership from

   the CDA/Spectrum database provided by Thomson Financial. The data, derived from

   institutional investors’ quarterly filings of SEC Form 13F, include quarterly holdings for each

   stock for each quarter between December 1987 and December 2005.



   C. Abnormal short interest

          In addition to raw short interest, we examine three measures of abnormal short interest.

   For firm i in month t, abnormal short interest equals

                                ABSI(j)it = SIit – E(SI(j)it), j = 1, 2, 3,                   (1)

   where SIit is raw short interest and E(SI(j)it) is the expected short interest based upon one of

   three benchmarks j that reflect the firm’s characteristics.

          The first benchmark, E(SI(1)it), controls for the firm’s market capitalization, book-to-

   market ratio, past stock performance, and industry. These controls reflect findings by Dechow

   et al. (2001), Asquith, Pathak, and Ritter (2005), and Duarte, Lou, and Sadka (2008) that short

   interest is related to market capitalization, the book-to-market ratio, and momentum. At the

   beginning of each month, each stock is assigned to one of 27 portfolios constructed by

   independently sorting stocks by size, book-to-market, and momentum, all measured at the end

   of the prior month. Each of the 27 portfolios is further partitioned into industry groups using

   two-digit SIC codes. We exclude the sample firms in constructing the matching portfolios.

          In particular, E(SI(1)it) is the fitted value from a cross-sectional regression that is estimated

   for each month t:


                                                                                                      (2)
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            The first three sets of explanatory variables are dummy variables that jointly define the 27 size,

            book-to-market, and momentum based portfolios. For example, if firm i is assigned to the portfolio

            with the lowest market capitalization in month t, then Sizei,low,t,=1, Sizei,medium,t,=0, and Sizei,high,t

            =0. Industry dummy Indit,k =1 if firm i belongs to industry k in month t. K is the total number of


            industries. By construction,             = 1 (so the intercept term is omitted). Each monthly


            regression uses all firms listed on NYSE, AMEX, or NASDAQ that are not in our SEC enforcement

            action sample and for which data on short interest, market capitalization, book-to-market ratio, and

            momentum are available over the period 1988 through 2005.
 Insert
Table III           Table III reports the time-series averages of the coefficient estimates (excluding
 here.
            industry dummies) of the monthly cross-sectional regressions. The associated t-statistics are

            computed with Newey-West (1987) corrections for serial correlation using three lags. The

            base portfolio in this regression is the portfolio with the highest market capitalization, book-to-

            market ratio, and momentum for each industry. This means that the coefficients are interpreted

            as the difference between the short interest of each portfolio and that of the base portfolio. The

            results show that the largest firms have the highest short interest. Both book-to-market ratio

            and momentum have U-shaped relations with short interest, as indicated by the different signs

            of b1 and b2, and m1 and m2. The relation between the book-to-market ratio and short interest is

            consistent with the finding in Dechow, Hutton, Meulbroek, and Sloan (2001). The U-shaped

            relation between short interest and momentum also is documented by Duarte, Lou, and Sadka

            (2008). Stocks with the lowest book-to-market ratios and lowest past performances are most

            highly shorted.

                    Our second measure of abnormal short interest, ABSI(2)it, includes additional controls

            for share turnover and institutional ownership, which D’Avolio (2002) shows are related to
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   short sales constraints. The coefficients reported in the second column of Table III indicate

   that short interest increases with both share turnover and institutional ownership. The fitted

   values from each monthly cross-sectional regression are used to estimate E(SI(2)it), the

   expected amount of short interest for firm i in month t, which in turn is used to calculate

   ABSI(2)it = SIit – E(SI(2)it).

           Our third measure of abnormal short interest, ABSI(3)it, expands the number of control

   variables to include total firm accruals and insider selling. Healy (1985), Dechow, Ge, Larson,

   and Sloan (2007), and others show that accruals can be used to manipulate earnings, and

   Agrawal and Cooper (2008) show that insider selling is correlated with financial misconduct at

   many firms. Einhorn (2008) reports that many short sellers base their positions on accruals and

   insider selling even in the absence of any specific knowledge about the firm. ABSI(3)it reflects

   short sellers’ information over and above their knowledge about accruals, insider selling, or the

   other control variables.

           Our measure of total accruals for firm i in month t is the same as that used by

   Richardson, Sloan, Soliman, and Tuna (2005):


                                                                          .                   (3)


   Here, ∆WCit is firm i’s change in non-cash working capital. It is measured as the change in

   current operating assets, net of cash and short-term investments, minus the change in current

   operating liabilities, net of short-term debt. Non-current operating accruals, ∆NCOit, is the

   change in non-current assets net of long-term non-equity investments and advances, less the

   change in non-current liabilities, net of long-term debt. ∆FINit, the change in net financial

   assets, is the change in short-term investments and long-term investments less the change in
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   short-term debt, long-term debt and preferred stock. Total accruals is measured using annual

   data, so it is the same for all months t in a given fiscal year.

           To measure insider selling, we first calculate net insider selling in each month as the

   difference between the shares sold and bought by insiders, divided by the firms’ outstanding

   shares. Insider selling is then defined as the difference between this measure of net insider

   selling and its mean over the previous 12 months. A higher number of this variable indicates a

   higher level of sales by insiders.

           The last column of Table III reports the means of the coefficients when total accruals

   and insider selling are included in the monthly cross sectional regressions for short interest.

   Short interest is positively related to both measures. This indicates that short sellers respond to

   public information about accruals and insiders’ trades, even in the absence of financial

   misrepresentation.

           To check the robustness of our results, we replicated many of the tests reported in this

   paper using four alternate measures of abnormal short interest. The first adds to ABSI(3) a

   control for the dispersion in analysts’ forecasts, which Diether, Malloy, and Scherbina (2002)

   show is correlated with the cost of selling short. The second adds the firm’s short interest at

   the beginning of the violation period as a matching criterion in selecting comparison firms that

   comprise the benchmark sample. The third uses each firm’s own level of short interest before

   its violation period as its benchmark level of “normal” short interest. And the fourth defines

   abnormal short interest as a binary variable equal to one when raw monthly short interest

   exceeds the firm’s pre-violation mean level by three standard deviations (this is similar to the

   method used by Dyck, Morse, and Zingales 2008). As reported in the Internet Appendix, the

   results using any of these alternate measures are similar to those reported here.
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                                                                     13

                                    III. Do short sellers identify misrepresenting firms?

            A. Short interest around the revelation of misrepresentation

                     Table IV and Figure 2 report on monthly raw and abnormal short interest during the 40-

            month period surrounding the month in which financial misconduct is publicly revealed. We

            have at least some short interest data for 474 firms in the sample, but many of these firms do

            not have sufficient data to calculate abnormal short interest in some months. This is for two

            reasons. First, the data required to calculate abnormal short interest is not available for all

            firms in all months. The data requirements are most severe for ABSI(3), so our sample sizes

            typically decrease as we move from ABSI(1) to ABSI(3). The second reason is that some firms

            enter the sample fewer than 19 months before their public revelation dates, while some firms

            leave the sample or do not have short interest data available in the months after public

            revelation. In sensitivity tests, we find that the results do not change if we restrict the sample

            to include only firms with data available for all months in the [-19, 0] period.9
 Insert
Table IV             Average raw short interest            increases steadily from month -19 through month 0,
 here.
            reaching a peak in month +5 before gradually decreasing through month +20. The patterns for

            all three measures of abnormal short interest are similar. The cross sectional mean of the

            ABSI(1)it,               , is positive in month –19, indicating that these firms are more highly

            shorted than other firms in the portfolio matched by size, book-to-market, momentum, and

            industry.               does not differ significantly from zero at the 5% level, however, until

            month –17. In month –1,                       has a value of 1.890, meaning that the misconduct firms’


            9
              The results also are not sensitive to the [-19, +20] window. In general, abnormal short interest becomes
            statistically significant around month -17, and it increases steadily, although not monotonically, until five months
            after public revelation. We also find similar results when the data are partitioned into 1988-1996 and 1997-2005
            subperiods.
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   short interest as a percentage of shares outstanding is 1.890 percentage points higher than firms

   in the control portfolio. Given that the unconditional mean short interest in any given firm-

   month is only 1.65% of outstanding shares, this means that short interest in month –1 is more

   than double the unconditional sample mean level of short interest.

          The second and third measures of abnormal short interest are smaller than                  in

   every month, but both follow a similar pattern. In month –1,                   equals 1.451 and

               equals 1.651. Thus, controlling for share turnover and institutional ownership

   partly explains the abnormal increase in short interest that is reflected in            . But

   controlling for total accruals and insider selling does not further decrease the measure of

   abnormal short interest. These results indicate that the build-up of short interest before the

   public revelation of financial misrepresentation is not fully explained by such observable firm

   characteristics as total accruals and insiders’ trades. As reflected in Table III, short selling in

   general is sensitive to these characteristics. But the build-up of short interest while firms

   misrepresent their financial statements is attributable to something else. A plausible

   explanation is that short sellers act on private information or public information that is not yet

   reflected in share prices. This is consistent with anecdotes (e.g., as in Einhorn 2008) that short

   sellers identify overpriced shares through a combination of fundamental analysis and private

   investigation.

          The far right column in Table IV reports the monthly change in the third measure of

   abnormal short interest,              . Fifteen of the 19 monthly changes up through month 0

   are positive, indicating that the build-up of short interest is fairly steady. To measure the
           Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 17 of 73 Page ID #:330
                                                                15

              average monthly rate at which abnormal short interest grows in the pre-revelation period, we

              estimate the following pooled regression model using firm fixed effects:

                                                   ABSI(j)it = ai + δ • t + εit                             (4)

              where t is a time trend ranging from –19 to –1. We include firm fixed effects to account for

              heterogeneity in short-selling activity across firms. Using the first measure of abnormal short

              interest, ABSI(1)it, the estimate of the coefficient for the time trend δ̂ is 0.073 with a t-statistic

              of 11.7. This indicates that abnormal short interest increases by an average amount of 0.073

              percentage points in each of the 19 months leading up to the public revelation of financial

              misrepresentation. The coefficient δ̂ using the second measure is 0.057 (t = 9.1), and for the

              third measure is 0.054 (t = 7.9).

 Insert               The data from Table IV are illustrated in Figure 2. Raw short interest, as well as all
Figure 2
 here.
              three measures of abnormal short interest, increase over the 19 months before the public

              revelation of financial misconduct, and slowly unwind during the 20 months after public

              revelation. The Internet Appendix contains an extension of Figure 2 that illustrates the overall

              pattern of short selling around both the initiation and discovery of financial misconduct.

                      Notice that abnormal short interest does not immediately drop toward zero in the

              months after the misconduct is publicly revealed. Instead, it remains high for several months

              before gradually decreasing, remaining statistically different from zero many months after the

              revelation. Our short interest data do not provide the individual identities of each short seller,

              so it is possible that the abnormal short interest after month 0 represents new short sellers

              taking new positions in the stock. It also is possible that short sellers take time to wind down

              their positions after month 0. Under either scenario, short sellers can profit even after the
Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 18 of 73 Page ID #:331
                                                     16

   initial revelation of misconduct. The evidence in Panel B of Table II indicates that share prices

   tend to decline upon subsequent announcements about the misconduct and penalty.



   B. Short interest and the severity of misrepresentation

           The evidence in Table IV indicates that short sellers detect financial misrepresentation

   before it is publicly revealed. To probe this interpretation, we examine whether the amount of

   short selling is related to the severity of the misrepresentation. If short sellers are skilled at

   ferreting out information about these firms’ overvaluation, we would expect short selling to be

   most pronounced in firms with the most severe reporting irregularities.

           We examine cross-sectional differences in the amount of abnormal short interest at

   month –1 using the following specification:

                                                                                            (5)

   Here, ABSI(j)i,-1 is firm i’s abnormal short interest measured at the end of month –1, and

   Severityi is a measure of the severity of the misconduct. One potential measure of the

   misconduct’s severity is the drop in share value when news of the misconduct is made public.

   Indeed, we find that the stock return on the trigger date is significantly related to all three

   measures of abnormal short interest, indicating that short selling is particularly active before

   public revelations of misconduct that precipitate large price drops. Unfortunately, this result

   does not directly tie short selling to the misrepresentation’s severity. It is possible that short

   sellers have no specific knowledge of the misrepresentation, and are good only at anticipating

   large stock price declines. It could also be argued that short sellers manipulate or engineer the

   large stock price declines. To distinguish between these competing interpretations, we need

   measures of severity that directly measure the extent of managers’ misconduct.
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                                                   17


          To do that, we use three different proxies for Severity: Fraud, Insider trading charges,

   and Total accruals. Fraud is a dummy variable that equals one if the enforcement action

   includes fraud charges under: (i) Section 17(a) of the 1933 Securities Act, which covers

   fraudulent actions in the sale of new securities; (ii) Sections 10(a) or 10(b) of the 1934

   Exchange Act, which cover fraudulent actions in the purchase or sale of existing securities; or

   (iii) Sections 15 or 18 of the United States Code, which cover criminal fraud charges. Contrary

   to popular use of the term “fraud,” specific charges of fraud are not universal in SEC

   enforcement actions for misconduct. Fraud charges are relatively difficult for the SEC or

   Department of Justice to prove, so they tend to be included only when the financial

   misrepresentation is egregious and costly (for a discussion, see Cox, Thomas, and Kiku, 2003).

   In our sample, 79% of all enforcement actions include at least one fraud charge.

          Insider trading charges takes the value of one if the enforcement action includes at

   least one charge of insider trading under sections 10(b)5-1 and 10(b)5-2 of the Exchange Act.

   In our sample, 19% of all actions include at least one such charge. Agrawal and Cooper (2008)

   conclude that many managers trade on personal account when their firms’ books are in error,

   and Karpoff, Lee, and Martin (2009) report that securities class action settlements for financial

   misrepresentation are higher when insider trading charges are included. These results indicate

   that insider trading charges are associated with egregious and costly misrepresentations.

          Our third measure of the severity of the misrepresentation is Total accruals, as

   presented in equation (4). Healy (1985), Dechow, Ge, Larson, and Sloan (2007), and others

   have shown that accruals can be used to manipulate earnings. We hypothesize that the size of

   the Total accruals correlates with the materiality of the financial misrepresentation.
          Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 20 of 73 Page ID #:333
                                                                     18


                      To verify that Fraud, Insider trading charges, and Total accruals are good proxies for

             the severity of misconduct, we estimated the relation between each proxy and the market-

             adjusted one-day return on the revelation date, using the same control variables as in Table V.

             The results, reported in the Internet Appendix, indicate that each proxy is negatively and

             significantly related to the abnormal return on the revelation date (p-values of .02 or smaller),

             indicating that each is a good measure of the severity. One way to think of these proxies is that

             each is an instrumental variable for the stock price reaction to the public revelation of

             misrepresentation. The use of these instrumental variables avoids an errors-in-variables

             problem that would arise if we used the stock return to measure severity in equation (5),

             because short interest and the stock return upon public revelation both are simultaneously

             determined by the severity of the misconduct.10

 Insert
Table V
                      Models 1–3 in each panel of Table V report the results when equation (5) is estimated
 here.
             using the three different measures of severity. Each variable is measured at the end of the

             month just before the public revelation month. The coefficients are all positive and statistically

             significant, implying that short selling before the public revelation is significantly related to the

             severity of the misrepresentation. In model 1 of panel A, the Fraud coefficient indicates that

             short interest is 1.650 percentage points higher, on average, when fraud charges are included in

             the enforcement action. Short interest is 2.034 percentage points higher when the enforcement

             action includes insider trading charges. The coefficient for Total accruals of 5.151 indicates

             that an increase from the 10th percentile to the 90th percentile in the Total accruals measure

             10
                The Internet Appendix reports results for four alternate measures of misconduct severity: (i) the monetary
             award in the private class action lawsuit related to the firm’s misconduct, (ii) the monetary fines imposed by
             regulators, (iii) Karpoff, Lee, and Martin’s (2009) index of non-monetary penalties imposed by regulators, and
             (iv) whether the firm subsequently declared bankruptcy. Measures (i), (ii), and (iv) are significantly related to
             abnormal short interest, and yield results that are similar to those for Fraud and Total accruals in Table V. When
             the alternate measures are included in the tests, the coefficients on Fraud, Insider trading charges, and Total
             accruals all are positive, generally with lower p-values than reported in the tables.
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   corresponds to an increase in short interest of approximately 3.021 percentage points. Similar

   estimates of the economic effects obtain from the results in Panels B and C.

          Model 4 in each of the panels includes all three Severity proxies in one regression. In

   all three panels, the coefficients are positive, although only Total accruals remains significant

   at the 5% level in all three panels. This could reflect the high correlations among these

   proxies.

          Among the control variables, high institutional ownership implies more shares available

   on the stock loan market, which lowers the cost of shorting and increases short interest. The

   coefficient for size is negative and significant, indicating abnormal short interest is relatively

   small in large firms. This could reflect the fact that size loads positively in constructing the

   benchmark levels of expected short interest. Neither the book-to-market ratio nor momentum

   has a significant impact on abnormal short interest.

          The regressions in Table V analyze the determinants of short interest at one point in the

   time line, namely, the last month before the exposure of the misconduct. In the Internet

   Appendix we report on how the change in abnormal short interest from month –19 to month –1

   is related to the severity of the misconduct. The results from these tests indicate that short

   interest, and its build-up, are positively related to the severity of the misrepresentation that

   subsequently is revealed to the public. Short sellers not only pre-identify firms that get into

   trouble for misrepresenting their financial statements. They also take larger positions when the

   misrepresentation is particularly egregious. That is, short sellers appear to anticipate both the

   existence and severity of financial misrepresentation.
         Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 22 of 73 Page ID #:335
                                                             20

            C. Do short sellers focus on misrepresenting firms?

                   The evidence in Tables IV and V (as well as the accompanying results in the Internet

            Appendix) indicates that short sellers detect financial misrepresentation before it is publicly

            revealed, and that the extent of short selling is sensitive to the severity of the misrepresentation.

            But these results are from firms that, ex post, faced SEC sanctions for misconduct. They do

            not address the question of whether short selling in general tends to predict the existence of

            (yet undisclosed) misrepresentation. To explore this issue, we examine whether high levels of

            abnormal short interest are related to the presence of financial misconduct, using data from all

            firms for which we have short interest data. Table VI reports results using ABSI(1), although

            the results are similar using ABSI(2) or ABSI(3).

                   For each month t, we classify firms along two dimensions. Firms with ABSI(1) in the

            top 5% are identified as “high short interest firms,” while those in the bottom 95% are “low

            short interest firms.” If month t overlaps with an SEC-identified violation period for firm i, it

            is designated as a “violation firm-month.” This classifies every firm-month in the sample

            according to whether the firm had high short interest and whether it was cooking its books.

                   Panel A of Table VI reports on the resulting 2x2 matrix. If short interest tends to be
 Insert
Table VI    high when firms misrepresent their financial statements, we should see a higher-than-random
 here.
            concentration along the diagonal. That is, high short interest firm-months should correspond

            with violation firm-months, and low short interest firm-months should correspond with non-

            violation firm-months. This is exactly what we find. For example, 1.78% of all firm-months

            are in the “violation” category. But among the high short interest firm-months, 4.18% are in

            the violation category. A Chi-squared test rejects the null hypothesis that the short interest and

            violation categories are unrelated (χ2 = 1912, p-value = 0.00).
Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 23 of 73 Page ID #:336
                                                          21

           Panel A includes all firm-months for which we have short interest data. Panel B

   excludes data from months between the public revelation of the misconduct and the end of the

   SEC enforcement action. This affects only firms with SEC enforcement actions, and has the

   effect of deleting observations for which short interest may be high, even though the

   misconduct is public knowledge. Removing these observations yields results that are similar to

   Panel A. For example, in Panel B, χ2 = 698 with a p-value = 0.00. These results are consistent

   with the hypothesis that there is a systematic relation between high short interest and the

   presence of financial misconduct that has not yet been revealed to the public. That is, short

   interest is a predictor of the existence of financial misrepresentation in general.11



                           IV. Short sellers’ external effects on other investors

           In this section we examine whether short sellers confer external costs or benefits on

   other investors. A potential external cost is that short selling may exacerbate a downward price

   spiral when the misconduct is publicly revealed. A potential benefit is that short selling may

   help to uncover the misconduct. A second potential benefit is that short selling may dampen

   the stock price inflation that occurs when the firm’s books are in error.



   A. Short selling and the share price reaction to news of misconduct

           Critics of short selling argue that it can cause prices to deviate from fundamental

   values, particularly when bad news hits the market. In written testimony for the U.S. House

   Committee on Financial Services, for example, MBIA Inc. argues that short sellers increased

   the downward price pressure on insurers that face large losses in the U.S. mortgage markets
   11
     For a more comprehensive investigation of variables that predict financial misconduct, see Dechow, Ge, Larson,
   and Sloan (2007). Our results indicate that abnormal short interest should be included in such tests. The Internet
   Appendix reports that we obtain similar results when “high short interest” is defined as the top 10% of ABSI(1).
         Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 24 of 73 Page ID #:337
                                                             22

            (see Wilchins 2008). Short selling, according to this view, creates a cascade of selling that

            leads to overreaction to bad news and drives prices down too far. The SEC’s October 2008

            moratorium on naked short selling in selected financial institutions was based in part on this

            theory, as SEC Chairman Christopher Cox argued that short selling contributed to large share

            price declines at such firms as Lehman Brothers, Bear Stearns, Fannie Mae, and Freddie Mac

            (e.g., see Cox 2008, Zarroli 2008).

                   To investigate this argument we examine how short selling is related to the stock price

            reaction when financial misconduct is revealed to the public. In particular, we estimate the

            following cross-sectional regression:

                          ARi = a + f1 ABSI(j)i,-1 + f2 Severityi + f3 Controlsi + ei,   j=1,2,3,     (7)

            where ARi is the market-adjusted return on the day misrepresentation is first publicly revealed,

            and ABSI(j)i,-1 is the firm i’s abnormal short interest in the month before the month of the

            revelation date. If the announcement day abnormal return is sensitive to the severity of the

            misconduct, f2 should be negative. If, in addition, short selling causes an overreaction that is

            not related to the severity of the misconduct, f1 should be negative as well.

 Insert
Table VII
                   Table VII presents the results using our first measure of abnormal short interest,
 here.
            ABSI(1). In Model 1, the coefficient for ABSI(1)i,-1 is negative and significant at the 10% level.

            This appears to provide support for the view that short selling exacerbates the price drop when

            bad news hits the market. But Model 1 does not control for the severity of the misconduct.

            The negative relation between the abnormal stock return and abnormal short interest might

            simply reflect short sellers’ tendencies – documented earlier in Table V – to take larger

            positions when the misrepresentation is particularly bad.
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                                                    23

          When we include our measures of severity, as in Models 2-5, the coefficient for

   ABSI(1)i,-1 becomes statistically insignificant. Instead, the coefficients for the severity

   measures are negative and significant. The results are more pronounced when we use

   ABSI(2)i,-1 or ABSI(3)i,-1 to measure abnormal short interest; in these cases the abnormal return

   never is significantly related to abnormal short interest, but is strongly and negatively related to

   all three measures of misconduct severity. These results indicate that short selling activity does

   not have a significant, independent effect on the market reaction to news of financial

   misconduct. This is inconsistent with the view that short selling causes an unwarranted

   downward spiral in the stock price when bad news is announced.

          We also examined the stock price behavior after the initial disclosure of misconduct. If

   short selling causes overreaction – either in the short term or long term – then we should see

   differences in the stock price paths of our sample firms that correspond to differences in short

   interest. The results, however, do not support an overreaction story. In results reported in the

   Internet Appendix, we partitioned the sample according to abnormal short interest in month –1.

   We find no evidence of overreaction on the public revelation day (day 0) in either the high-

   ABSI or low-ABSI groups, as there is no price reversal after day 0 in either group. We also find

   no significant difference in the cumulative excess returns between the high-ABSI and low-ABSI

   groups over horizons up to 180 days after day 0. These results indicate that the market

   responds to the severity of misconduct. But there is no evidence that short selling in and of

   itself imposes additional downward price pressure, either on the public revelation day or

   afterwards.
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                                                             24

   B. Do short sellers help to expose financial misrepresentation?

                                  B.1. Short interest and the time-to-revelation

            Short selling advocates (e.g., Einhorn 2008) argue that short sellers generate external

   benefits by helping to expose financial misrepresentation. To our knowledge, this assertion has

   not been tested, although a recent paper by Dyck, Morse, and Zingales (2008) provides some

   evidence. Dyck et al. examine spikes in short interest before the announcements of security

   class action lawsuits from 1996-2004, most of which are for financial misrepresentation. An

   event is labeled “detected by short sellers” if the raw short interest during the three months

   before the filing date exceeds the firm’s short interest in the prior year by three standard

   deviations. Dyck et al. conclude that between 3.4% and 14.5% of their 216 events are detected

   by short sellers. This estimate suggests that short sellers play a modest role in helping to

   uncover financial misconduct.

            We examine this issue by estimating survival models that measure how short selling

   affects the time it takes for misrepresentation to be publicly revealed. Specifically, we model

   the logarithm of time-to-revelation, log(Mi), as

                                                                                                               (8)

   Here, Mi is the number of months from the beginning of firm i’s violation until its revelation,

   Xi is the vector of possibly time-varying covariates assumed to influence the time until public

   revelation, and β is a vector of regression parameters that we estimate. The error term εi is

   assumed to follow the logistic distribution.12




   12
     We obtain qualitatively identical results using a discrete version of Cox’s (1972) semi-parametric proportional
   hazard model. The Cox model requires no assumption about the distribution of εi in equation (8). An advantage
   of the parametric specification, however, is that it enables us to obtain quantitative estimates of the impact of short
   selling on the time-to-revelation, as reported below.
          Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 27 of 73 Page ID #:340
                                                             25

                    In estimating the model, we use data from all months from violation until the revelation

             of misconduct. Letting Tit denote the number of months from the start of violation, we use all

             firm-months such that 0 < Tit ≤ Mi. The explanatory variables Xi are measured at the beginning

             of each month t. For each month t, we observe the following vector [t, Revelationi, Xi], where

             Revelationi is a dummy variable that equals one if firm’s misconduct is revealed in month t,

             i.e., Mi = Tit, and zero otherwise, i.e., Mi > Tit. A log-likelihood function can then be

             constructed to estimate the parameter vector β. To mitigate contaminations from outliers, only

             violations that last more than a year but less than or equal to ten years are included in the

             estimates we report, although the results are not sensitive to the inclusion of all events. In the

             data matrix Xi we include controls for institutional ownership, size, book-to-market ratio, and

             momentum.

                    Model 1 in Panel A of Table VIII reports the impact of abnormal short interest on the
  Insert
Table VIII
  here.      time to exposure. We report results using ABSI(1), although the results are similar using

             ABSI(2) and ABSI(3). The coefficient is –0.028 and is statistically significant, indicating that

             short selling is associated with a more rapid exposure of the misconduct. In models 2-5 we

             include controls for the severity of the misconduct. The coefficients for Fraud in Model 2 and

             for Total accruals in Model 4 both are negative and statistically significant, consistent with the

             view that severe misrepresentations are discovered relatively quickly. These results maintain

             in Model 5, which includes all three severity measures together. Most importantly for our

             investigation, the coefficient for abnormal short interest is negative and significant in all model

             specifications. This implies that short selling is positively related to the speed with which

             financial misrepresentation is uncovered.
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                                                   26

          The coefficient estimates from the parametric log-logistic model allow us to quantify

   how abnormal short interest affects the time until misrepresentation is discovered. Consider

   short interest in firms whose violations have been ongoing for 12 months. Using Model 5

   estimates and inserting mean values for all other variables, a firm at the 75th percentile of

   abnormal short interest eventually will have its misconduct uncovered 8 months sooner than a

   firm at the 25th percentile. As reported in Table I, the median time-to-revelation is 26 months,

   so a reduction in the time-to-revelation of 8 months represents a significant impact of short

   selling on the time it takes to uncover the misconduct.



                                           B.2. Endogeneity

          Table V shows that short sellers take particularly large positions when the

   misrepresentation is particularly egregious. Suppose that egregious misrepresentations are

   discovered quickly, not due to the short selling, but rather, because their severity prompts a fast

   response from investors or regulators. In this case we would not conclude that short interest

   accelerates the time-to-discovery, but rather, that both short interest and time-to-discovery are

   driven by the severity of the misconduct.

          This concern is mitigated somewhat by including measures of misconduct severity in

   the empirical tests, as in Panel A of Table VIII. The severity measures, however, may be

   imperfect. To further control for a possible omitted variables bias in estimating equation (8),

   we construct an instrumental variable for short interest. The instrumental variable is the fitted

   value from the following cross-sectional model, which is estimated for each month t:

                                                                                             (9)
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                                                            27

   In equation (9), Optionsit is a dummy variable set equal to one if the stock has listed options on

   the CBOE in month t. Diether et al. (2009) find that short selling activity is positively related

   to the availability of options markets trading. This is for two reasons. First, listed options can

   decrease the cost of hedging short positions. And second, firms with listed options may be less

   expensive to borrow and sell short since stocks with options tend to be larger and more liquid.

   Consistent with such prior findings, we find that the mean of the cross-sectional coefficients

         in equation (8) is positive and significant using all three measures of abnormal short

   interest. Using coefficient estimates            and         from equation (9), we create an instrumental

   variable equal to the fitted value                     .13

               Panel B of Table VIII reports the results of the instrumental variable estimation. We

   use the same specification as in Model 5 of Panel A, except that we replace ABSI(j)i,-1 with the

   instrumental variable                    . Using any of the three measures, the coefficient for the

   instrumental variable is negative and statistically significant (p < .001). This relation is robust

   to controls for the severity of the misrepresentation, which also are positively related to the

   speed with which misrepresentation is uncovered.

               The evidence from both Panels A and B in Table VIII indicates that short sellers play

   an important role in helping to uncover financial misrepresentation. These results are contrary

   to the estimates by Dyck et al. (2008), which imply that short sellers play at most a modest role

   in helping to unveil business misconduct.




   13
        In most tests,         satisfies the exclusion restriction for an instrumental variable, as it is not significantly
   correlated with the residual in the time-to-revelation models. An exception is Model 2 in Panel B of Table VIII,
   for which the instrument is significantly correlated with the residual. For discussions of instrumental variable
   tests with hazard models, see Abbring and Van den Berg (2005) and Bijwaard (2008).
           Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 30 of 73 Page ID #:343
                                                                        28

              C. External effects of short selling on prices and share quantity

                       In addition to impacting the time-to-revelation, short selling can affect share prices and

              the number of shares held by other investors. Uninformed investors can benefit if short selling

              keeps prices closer to their full-information values. But they also can be harmed by the extent

              of short sellers’ profits.
 Insert
Figure 3               Figure 3 illustrates these two external effects. Pactual represents the price at which
 here.
              shares trade in any given month t during the violation period. In the absence of informed short

              selling, the inflated price presumably would have been higher, Phigh. The difference, Phigh –

              Pactual, represents short sellers’ price impact. When uninformed investors trade with each

              other, the net distributional effect of the price impact is zero. But when uninformed investors

              buy from informed sellers, the price impact conveys an external benefit, which is illustrated by

              Area B (for “Benefit”) in Figure 3. We consider trades with two types of informed sellers:

              insiders and the firm itself. Area B equals the price impact, Phigh – Pactual, times the net number

              of shares sold by insiders or issued by the firm in month t. It is a measure of uninformed

              investors’ savings when they buy from informed parties – insiders or the firm itself – who are

              most likely to gain from the artificial inflation in share prices that occurs when the firm issues

              falsified financial statements.

                       Short sellers also impose external costs on uninformed investors. Borrowing shares to

              sell short increases the number of shares held by uninformed investors.14 Uninformed

              investors buy these shares during the violation period, when the shares typically are overpriced.

              In Figure 3, Ptrue is the value that would obtain if the firm’s financial statements were not in


              14
                 For a discussion, see Apfel, Parsons, Schwert, and Stewart (2001). Apfel et al. also point out that, because it
              increases the number of shares held long, short selling makes it difficult to identify which shareholders have
              standing to sue in 10b-5 class action lawsuits for financial fraud. This is a potential cost of short selling that our
              tests do not measure.
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                                                      29

   error. Every short sale occurs at a price that is inflated by the amount Pactual – Ptrue. The total

   external cost to uninformed investors, represented by Area C (for “Cost”), equals Pactual – Ptrue

   times the number of shares sold short.

              Notice that Area C represents short sellers’ gain. If Area C equals Area B, short sellers

   internalize their external benefits exactly. If B is positive but less than C, then short sellers

   generate external gains for uninformed investors, but these gains are more than offset by their

   profits. If B is greater than C, then short sellers generate external gains that exceed their

   profits.

              To estimate Areas B and C, we need estimates of Phigh – Pactual and Pactual – Ptrue. For

   Phigh, we first estimate a cross-sectional model for share returns, retit, using firms not in the

   SEC enforcement action sample:


                                                                                                       (10)


   Equation (10) is estimated for each month t, and the explanatory variables are measured at the

   end of the prior month t-1. The key to this model is the inclusion of abnormal short interest,

   ABSI(j)i,t-1. The mean estimate        is negative, indicating short selling does indeed have an

   impact on prices. Using ABSI(1), for example, the mean of the monthly coefficients            is

   –.091 with a t-statistic of –10.52.

              The hypothetical return if abnormal short interest were zero,        , is:


                                                                                               (11)

   For each firm-month, we calculate the hypothetical cumulative return, cumretithigh , from the

   beginning of the violation:
         Case 8:19-mc-00005-AG-DFM Document 25-1 Filed 10/12/18 Page 32 of 73 Page ID #:345
                                                              30


                                                                          .                             (12)


            The hypothetical stock price, Phigh, is then calculated as P0 * cumretithigh , where P0 is the stock

            price at the beginning of the violation period. In measuring P0, we adjust for stock splits using

            the cumulative adjustment factor provided by CRSP. Phigh – Pactual is the difference between

            Phigh and the actual price at the end of the contemporaneous month.

                    We use two estimates of Pactual – Ptrue. Our upper bound estimate equals the actual

            price in month t minus the price per share immediately after the misconduct is revealed. Our

            lower bound estimate equals only 24.53% of this difference. The rationale for the upper bound

            estimate is that the post-revelation price reflects investors’ valuation after they adjust for the

            news that the price previously had been inflated by falsified financial statements. The rationale

            for the lower bound estimate is that, as Karpoff, Lee, and Martin (2008b) report, the post-

            revelation share price falls more than the price inflation that we can attribute to the misconduct.

            The price drop also reflects investors’ expectations of future legal penalties and the firm’s

            reputation loss. Karpoff, Lee, and Martin (2008b, page 600) estimate that 24.53% of the price

            drop represents the amount by which prices were inflated by the financial misrepresentation.

                    We use these variables to calculate Areas B and C for each month of the violation

            period as a percentage of the firm’s market capitalization. For each firm, we sum the monthly

            estimates of Area B to obtain a firm-specific estimate of short sellers’ external benefits.

            Likewise, we sum the monthly estimates of Area C to obtain a firm-specific estimate of short

            sellers’ profits, which also is a measure of the external costs imposed on uninformed investors.

 Insert             Table IX reports on the resulting estimates using ABSI(1) to measure abnormal short
Table IX
 here.
            interest. Estimates using ABSI(2) and ABSI(3) are in the Internet Appendix. During the

            violation period, insiders and the firm jointly sell shares that average 45.65% of the firm’s
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   outstanding common stock, with a 95% confidence interval of [26.24%, 65.06%] (the t-statistic

   is 4.61). The time series mean of short sellers’ monthly price impact, expressed as a

   percentage of the beginning month share price, is 2.41%. Together, these imply that short

   sellers’ external benefit to uninformed investors – the sum of the monthly measures of Area B

   – is 1.67% of the firm’s market capitalization (95% confidence interval of [0.25%, 3.09%]).

           Note that the median values are much smaller. The quantity distribution is skewed

   right, as a small number of firms issue a large number of shares. The distribution of price

   impact also is skewed right, and for the median firm, short sellers’ external benefit is

   negligible. Thus, short sellers generate external benefits, on average. But these benefits are

   negligible for the median firm. Further examination reveals that the right skew in the

   distribution of external benefits reflects a small number of firms that issued stock during their

   violation periods, including Cendant Corp., Waste Management Inc., Triton Energy Corp.

   America Online, Inc., and Royal Ahold NV.15

           Panel A also reports on short sellers’ profits. During the violation period, the average

   change in ABSI(1) is 1.12% of outstanding shares (confidence interval of [0.54%, 1.70%]), and

   our upper bound mean estimate of Pactual – Ptrue is 12.13% of share value per month.

   Averaging across firms, short sellers’ mean profit is 0.58% of the firm’s market capitalization.

   That is, short sellers cumulatively generate profits on the positions they take during the

   violation period that average 0.58% of the firm’s equity value.

           The mean net effect, equal to the sum of the differences between each firm’s monthly

   estimates of Areas B and C, is 1.09% of equity value. Note, however, that the confidence

   interval [–0.80, 2.98] indicates that this estimate is noisy. Furthermore, the median value is


   15
     This finding is consistent with arguments that one reason firms misrepresent their financials is to issue new
   shares at a favorable price (e.g., see Dechow, Sloan, and Sweeney 1996; Efendi, Srivastava, and Swanson 2007).
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   negative, albeit small in magnitude (-0.06% of equity value). This indicates that, for most

   firms, short sellers internalize their external benefits via their trading profits, generating no net

   external benefits for shareholders. But in a small number of firms, short sellers’ net external

   benefits are positive and large. The net external benefits in these relatively few cases are large

   enough to generate a positive mean estimate of the external benefit.

           If we use the lower bound estimate of short sellers’ external costs, the net external

   benefit is larger. The lower bound estimate of external costs is 0.14% of equity value,

   increasing the mean estimate of short sellers’ net external benefits to uninformed shareholders

   to 1.53% of equity value (confidence interval of [0.01, 3.05]). This larger estimate of net

   benefits is appropriate if we think of Ptrue as the price that would have obtained if the firm had

   never misrepresented its financials in the first place, i.e., we exclude from the definition of Ptrue

   any legal penalties and reputation losses that accrue to firms that misrepresent their financials.

           These results indicate that short sellers generate external benefits for uninformed

   investors, which in the median case they internalize with their trading profits. For a small

   number of firms, however, the external benefits are large enough to affect the overall mean

   estimates. Short sellers generate net external benefits particularly when they take positions in

   misrepresenting firms that issue new (overpriced) shares to uninformed investors.



                                             V. Conclusions

           Short sellers attract a lot of attention. They are blamed for manipulating and depressing

   share values, and for exacerbating price declines when bad news is announced. They also are

   credited with improving financial markets’ informational efficiency. We provide evidence on

   one aspect of short sellers’ effects on markets, by examining short selling before the public
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   revelation that firms misrepresented their financial statements. Such revelations are material

   events, as they are associated with an average one-day share price decline of 18%. Short

   sellers anticipate such announcements, as abnormal short interest builds steadily in these stocks

   during the 19-month period before the public revelation. The amount of short selling increases

   with the severity of the misrepresentation, indicating that short sellers are sensitive to the

   characteristics of the misconduct. High short interest also concentrates in firms that

   misrepresent their financials, compared to firms that do not.

          These results imply that short sellers are proficient at identifying financial

   misrepresentation before the general investing public. Our measures of abnormal short interest

   control for firm characteristics that are known to correlate with – and possibly motivate or

   facilitate – short selling, including firm size, book-to-market ratio, momentum, share turnover,

   institutional ownership, insider trading, and total accruals. So short sellers do not merely track

   such firm characteristics. Their positions appear also to be based on private information or a

   superior synthesis of public information about whether firms are cooking their books.

          We also examine short sellers’ external effects on other investors. Contrary to some

   claims (e.g., see Wilchins 2008, Zarroli 2008), short selling does not exacerbate the decline in

   share prices when bad news is announced. To the contrary, short selling conveys external

   benefits to uninformed investors, in two ways. First, short selling is associated with the speed

   with which financial misrepresentation is detected. Among firms that are have been

   misrepresenting their financials for 12 months, our point estimates indicate that a firm at the

   75th percentile of abnormal short interest will be publicly revealed eight months sooner than a

   firm at the 25th percentile. Thus, short selling not only anticipates financial misconduct; it also

   helps expose the misconduct.
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           The second external benefit is that short selling mitigates the mispricing that occurs

   when firms misrepresent their financial statements. This price impact conveys offsetting

   benefits and costs to uninformed investors who trade with each other. But for uninformed

   investors who purchase shares from insiders or the firm, the benefits can be substantial. We

   estimate that this benefit equals 1.67% of the firm’s market capitalization. Short sellers

   internalize some of this benefit, profiting by an amount that averages 0.58% of the firm’s

   equity value. Net of this profit, short sellers’ net external benefit is still positive, averaging

   1.09% of the firm’s equity value.

           These results indicate that short sellers tend to ferret out and help uncover financial

   misconduct by corporate managers. Short sellers profit from their positions in firms whose

   misconduct subsequently is revealed. Yet, even net of these profits, short sellers generate

   external benefits for uninformed investors. By improving market efficiency through its effects

   on prices, short selling offsets some of the harm imposed on uninformed investors who

   unwittingly buy shares from firms and insiders while the firm’s books are in error.
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                      Table I: Description of the Financial Misrepresentation Sample

       This table describes the yearly distribution of the 632 SEC enforcement actions for financial
       misrepresentation from 1988 through 2005. The violation period is the date the financial
       misrepresentation began until it ended, as identified in SEC litigation or administrative releases. The
       revelation date is the earliest date that information about the misrepresentation was made public.
       Most revelation dates are identified in SEC releases, and the remaining are identified in the Karpoff,
       Lee, and Martin (2008a,b) database. Revelation events include firm disclosures, restatements,
       auditor changes, SEC filing delays, whistle-blower charges, class action lawsuit filings, bankruptcy
       filings, and SEC actions (informal inquiries, formal investigations, Wells Notices, or first regulatory
       proceeding).


                                                                     Violation beginning
                                                 Violation period    to public revelation
                                                    (months)              (months)
                           Year     # of Cases   Mean Median          Mean       Median
                           1988         25        20        24         31          28
                           1989         13        25        23         30          23
                           1990         28        20        15         29          22
                           1991         34        34        24         35          30
                           1992         35        26        24         32          28
                           1993         32        24        20         31          24
                           1994         46        22        17         29          22
                           1995         29        26        24         28          25
                           1996         37        29        27         33          27
                           1997         34        26        24         32          24
                           1998         36        30        21         33          25
                           1999         36        33        30         33          24
                           2000         67        27        24         28          23
                           2001         49        26        21         25          20
                           2002         70        32        24         33          27
                           2003         31        32        33         35          29
                           2004         17        32        32         41          36
                           2005         13        42        36         46          36
                           Total       632        28        24         31          26
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                   Table II: Share Price Reactions to Announcements of Financial Misrepresentation

   This table presents summary statistics on the one-day market-adjusted returns for key dates in the sample of 454
   SEC enforcement actions for financial misrepresentation from 1988–2005, for which sufficient returns data are
   available on CRSP. The market-adjusted return is the firm’s return minus the CRSP value-weighted return on the
   same day. Panel A reports market-adjusted returns for the revelation date, which is the earliest date that
   information about the misrepresentation was revealed to the public. Most (359) revelation dates are identified by
   the SEC, and include firm disclosures, restatements, auditor changes, SEC filing delays, and whistle-blower
   charges. In 95 cases, the initial revelation date is identified in the Karpoff, Lee, and Martin (2008a,b) database.
   These events include announcements of an SEC informal inquiry or formal investigation, announcements of a
   Wells Notice (which is the SEC’s notification to respondents that it intends to take action), the initiation of
   regulatory proceedings, class action lawsuits, and, bankruptcy announcements. Panel B reports on important
   announcements about the misrepresentation that were made after the public revelation date. These subsequent
   events include announcements of an informal SEC inquiry, formal SEC investigation, Wells Notice, initiation of
   regulatory proceedings, initiation of class action lawsuits, and bankruptcy. There are a total of 844 such
   subsequent announcements. Of these, 371 are follow-ups to the initial revelation date. Of these 371 cases, 274
   have a third announcement, 147 have a fourth announcement, and 46 have a fifth announcement.


                                                              N          Mean (%)      Median (%)         t-stat
      Panel A: Initial public revelation date
      All initial revelation dates                           454           -18.20         -11.10         -19.90
         SEC-identified trigger event                        359           -20.70         -15.00         -19.00
          Other initial revelation events                    95            -8.90          -5.77           -8.55
                – SEC informal inquiry                       15            -12.10         -11.70          -5.17
                – SEC formal investigation                   22            -9.32          -6.09           -4.62
                – SEC Wells Notice                            1            -1.03          -1.03           N/A
                – Regulatory proceedings begin               12            -6.29          -1.97           -2.98
                – Class action lawsuits begin                37            -5.93          -3.73           -5.12
                – Bankruptcy                                  8            -20.40         -14.40          -3.00


      Panel B: Important subsequent announcements
          2nd announcement                                   371           -9.61          -4.96          -12.41
           rd
          3 announcement                                     274           -7.22          -3.97           -8.85
          4th announcement                                   147           -3.52          -1.95           -4.88
           th
          5 announcement                                     46            -0.00          -0.90             0
           th
          6 or higher announcement                            6            -13.76         -6.09           -1.53
      All subsequent announcements combined                  844           -7.28          -3.69          -15.30
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                             Table III: Models Used to Calculate Abnormal Short Interest

   For each month t, short interest (SI) is regressed on variables that are likely to explain the level of short interest
   that is unrelated to short sellers’ information about financial misconduct. Short interest (SI) is the number of
   shares shorted as a percentage of the number of shares outstanding. The table reports the time-series means and t-
   statistics of the monthly coefficient estimates. For Model 1:




   Explanatory variables include size, book-to-market ratio, and momentum, all measured at the beginning of month
   t.The explanatory variables are dummy variables. For example, if firm i is assigned to the portfolio with the
   lowest market capitalization in month t, then Sizei,low,t = 1, Sizei,medium,t = 0, and Sizei,high,t = 0. Model 2 includes
   dummy variables for share turnover and institutional ownership, and Model 3 includes continuous variables for
   total accruals and insider selling. All three regressions include industry dummies with Indikt = 1 if firm i belongs
   to industry k in month t. K is the total number of industries, and industry is defined using two digit SIC codes
   from CRSP. The sample includes all firms listed on NYSE, AMEX, or NASDAQ that are not in the SEC
   enforcement action sample and for which data are available during the 1988 through 2005 period. t-statistics are
   computed with Newey-West (1987) corrections for serial correlation using three lags.


                                              Model 1                         Model 2                         Model 3
                                    (used to calculate ABSI(1))     (used to calculate ABSI(2))     (used to calculate ABSI(3))
   Sizelow                                     -1.952                           -0.709                          -0.813
                                              [-13.09]                         [-8.22]                         [-8.32]
   Sizemedium                                  -0.922                           -0.322                          -0.395
                                               [-9.92]                         [-4.76]                         [-5.02]
   BMlow                                        0.345                            0.270                           0.264
                                               [7.49]                           [6.51]                          [6.28]
   BMmedium                                    -0.353                           -0.266                          -0.286
                                              [-14.12]                        [-11.92]                        [-12.05]
   Momentumlow                                  0.402                            0.454                           0.466
                                               [8.16]                          [11.07]                         [10.30]
   Momentummedium                              -0.147                            0.093                           0.093
                                               [-5.48]                          [3.64]                          [3.59]
   Turnoverlow                                                                  -2.261                          -2.248
                                                                              [-16.10]                         [15.73]
   Turnovermedium                                                               -1.899                         [-1.88]
                                                                              [-16.14]                        [-15.72]
   Institutional ownershiplow                                                   -0.949                          -0.931
                                                                              [-10.46]                         [-8.94]
   Institutional ownershipmedium                                                -0.588                          -0.531
                                                                               [-8.38]                         [-6.84]
   Total accruals                                                                                                0.419
                                                                                                                [7.38]
   Insider selling                                                                                               3.823
                                                                                                               [10.28]
   Industry controls                             Yes                            Yes                               Yes

   Adj-R2                                       0.21                            0.27                            0.28
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           Table IV: Short Interest and Abnormal Short Interest Around the Revelation of Misconduct

   This table reports the mean levels of short interest (SI) and abnormal short interest (ABSI(j)) for firms in the
   financial misrepresentation sample during the 40-month window around the revelation of financial
   misrepresentation. Month 0 is the month in which the financial misrepresentation was publicly revealed.
   Abnormal short interest (ABSI(j)it) for each event firm i in month t is the difference between the short interest and
   the predicted short interest using the coefficients in month t using model j, j =1,2,3. The time series means of the
   coefficients from each model, j=1,2,3, are reported in Table III. Short interest (SIit) is the number of shares
   shorted as a percentage of the number of shares outstanding in month t. N is the number of firms used in
   calculating the average for each month in event time. N changes due to limited availability of data on short
   interest or the variables used to calculate abnormal short interest. t-statistics test whether SI and the ABSI(j) differ
   significantly from zero.

                                              Model 1                        Model 2                      Model 3
   Month     SI     N    t-stat     ABSI(1)      N      t-stat        ABSI(2)   N      t-stat   ABSI(3)      N      t-stat   ΔABSI(3)
    -19    1.916   245   8.59        0.320      212     1.377          0.137   212     0.62      0.218      179     0.88
    -18    2.254   257   6.97        0.577      219     1.631          0.380   219     1.12      0.528      190     1.37       0.310
    -17    2.401   261   7.23        0.695      226     1.999          0.515   226     1.52      0.605      196     1.57       0.077
    -16    2.508   275   7.72        0.821      235     2.425          0.644   235     1.99      0.734      207     2.03       0.129
    -15    2.463   291   8.45        0.797      245     2.551          0.593   245     1.99      0.682      217     2.04      -0.053
    -14    2.603   305   8.89        0.911      260     2.931          0.703   260     2.37      0.857      224     2.51       0.175
    -13    2.736   323   8.97        1.067      273     3.234          0.823   273      2.6      0.915      239     2.59       0.058
    -12    2.943   319   8.94        1.260      267     3.552          1.062   267     3.12      1.190      234     3.19       0.276
    -11    3.178   332   9.61        1.476      277      4.01          1.270   277     3.58      1.374      241     3.51       0.184
    -10    3.212   357   10.1        1.512      294     4.195          1.261   294     3.67      1.382      256     3.63       0.008
     -9    3.362   361   10.1        1.743      309     4.662          1.443   309     4.03      1.425      262     3.52       0.042
     -8    3.419   374   10.2        1.746      323     4.703          1.387   323     3.91      1.399      278     3.57      -0.026
     -7    3.362   386   10.7        1.667      336     4.797          1.355   336     4.06      1.417      290      3.8       0.018
     -6    3.424   391   11.7        1.646      340     5.187          1.214   340     3.99      1.412      293     4.06      -0.005
     -5    3.432   407   11.6        1.719      349     5.302          1.296   349     4.15      1.513      301     4.28       0.101
     -4    3.242   411   11.5        1.492      361     4.943          1.132   361     3.94      1.302      310     4.02      -0.211
     -3    3.422   410   11.8        1.632      361     5.342          1.247   361     4.23      1.441      314     4.38       0.140
     -2    3.564   407   12.4        1.760      364     5.847          1.308   364     4.51      1.449      315     4.48       0.008
     -1    3.743   405   12.2        1.890      361     5.874          1.451   361     4.68      1.651      314     4.75       0.203
     0     3.815   374   12.3        1.981      313     5.855          1.513   313     4.64      1.682      274     4.62       0.030
     1     3.940   324   11.7        2.168      282     5.989          1.379   282      3.9      1.756      241     4.33       0.074
     2     4.001   308   11.8        1.966      269     5.821          1.395   269     4.23      1.676      232     4.45      -0.080
     3     4.007   300   11.9        2.016      275     5.856          1.489   275     4.47      1.736      233     4.57       0.060
     4     3.938   288   11.4        1.936      272     5.543          1.502   272     4.49      1.730      233     4.56      -0.006
     5     4.100   286   11.1        2.111      271     5.593          1.638   271     4.44      1.892      231     4.52       0.162
     6     4.038   277   10.6        1.669      264     4.732          1.276   264     3.77      1.451      230     3.85      -0.441
     7     3.558   276   11.3        1.450      262     4.588          1.099   262     3.66      1.263      228     3.78      -0.189
     8     3.456   265     12        1.319      253     4.626          0.949   253     3.45      1.059      222     3.55      -0.204
     9     3.313   258   12.1        1.201      249     4.373          0.779   249     2.98      0.897      219     3.19      -0.162
    10     3.404   256   12.2        1.318      249     4.732          0.849   249     3.16      1.035      218     3.49       0.138
    11     3.446   250   12.1        1.271      243     4.508          0.925   243      3.4      1.046      213     3.53       0.012
    12     3.195   251   11.7        1.043      243     3.641          0.677   243     2.42      0.782      211     2.51      -0.264
    13     3.171   242   11.3        1.052      234      3.61          0.667   234     2.31      0.762      205      2.4      -0.020
    14     3.128   243   11.1        1.059      233     3.745          0.724   233     2.65      0.839      203     2.78       0.077
    15     2.929   242   10.7        0.844      236      3.09          0.615   236     2.31      0.747      206     2.54      -0.092
    16     2.865   238   10.8        0.743      231     2.802          0.527   231     2.04      0.704      202     2.48      -0.043
    17     2.833   235   11.4        0.640      228     2.502          0.337   228     1.34      0.407      201     1.48      -0.298
    18     2.891   232   11.3        0.669      225     2.714          0.486   225     2.03      0.557      199     2.13       0.151
    19     2.940   227   11.3        0.691      221     2.634          0.496   221     1.94      0.616      196     2.22       0.059
    20     2.934   222   10.9        0.751      214     2.681          0.498   214     1.82      0.620      190     2.09       0.003
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                                   Table V: Determinants of Abnormal Short Interest at Month -1 Relative to Public Revelation

This table reports the estimates and corresponding p-values for cross-sectional regressions that estimate the determinants of abnormal short interest in the month
immediately before the month in which financial misrepresentation is revealed to the public:


The sample includes all SEC enforcement actions on NYSE/AMEX/NASDAQ-listed firms for which data on short interest, market capitalization, book-to-market
ratio, and momentum are available over the period 1988 through 2005. Fraud is a dummy variable that equals one if the enforcement action includes fraud charges
under Section 17(a) of the 1933 Securities Act or Section 10 of the 1934 Security Exchange Act. Insider trading charges is a dummy variable that equals one if the
action includes charges of insider trading. Total accruals is based on the measure in Richardson, Sloan, Soliman, and Tuna (2005). Institutional ownership is from
the CDA/Spectrum database; Size is measured by the log of market capitalization; the Book-to-market ratio is the ratio of book assets to the sum of book liabilities
and the market value of equity; and Momentum is calculated as the previous 12-month market-adjusted return.

                                                                                Measure of abnormal short interest:
                                         Panel A: ABSI(1)                              Panel B: ABSI(2)                                  Panel C: ABSI(3)
                               1           2         3             4           1          2          3            4             1          2         3               4
Severity measures:
Fraud                       1.650                                1.328       1.847                               1.547       1.977                               1.529
                            (0.03)                               (0.13)      (0.01)                              (0.08)      (0.02)                              (0.08)
Insider trading charges                  2.034                   1.299                   1.767                   1.046                   1.860                   1.005
                                         (0.01)                  (0.12)                  (0.01)                  (0.20)                  (0.02)                  (0.22)
Total accruals                                      5.151        4.470                               4.650       4.050                               4.181       3.601
                                                    (0.00)       (0.00)                              (0.00)      (0.01)                              (0.00)      (0.01)
Control variables:
Inst. ownership             0.086       0.089       0.097       0.094       0.070        0.074       0.083        0.079       0.077       0.082       0.082       0.078
                            (0.00)      (0.00)      (0.00)      (0.00)      (0.00)       (0.00)      (0.00)      (0.00)      (0.00)      (0.00)      (0.00)      (0.00)
Size                        -0.692      -0.727      -0.827      -0.746      -0.582       -0.629      -0.740      -0.651      -0.600      -0.682      -0.729      -0.641
                            (0.00)      (0.00)      (0.00)      (0.00)      (0.00)       (0.00)      (0.00)      (0.00)      (0.00)      (0.00)      (0.00)      (0.00)
Book-to-market ratio        0.158       0.159       0.141       0.174       0.136        0.130       0.135        0.168       0.160       0.158       0.140       0.172
                            (0.27)      (0.26)      (0.37)      (0.27)      (0.33)       (0.35)      (0.39)      (0.28)      (0.31)      (0.31)      (0.37)      (0.27)
Momentum                    0.005       0.003       0.005       0.005       0.006        0.003       0.006        0.006       0.007       0.004       0.006       0.005
                            (0.32)      (0.60)      (0.34)      (0.42)      (0.27)       (0.51)      (0.28)      (0.31)      (0.22)      (0.46)      (0.30)      (0.33)
Intercept                   0.798       1.702       1.872       0.254       0.258        1.434       1.573       -0.189       0.069       1.428       1.575      -0.159
                            (0.46)      (0.04)      (0.04)      (0.83)      (0.81)       (0.08)      (0.08)      (0.87)      (0.95)      (0.12)      (0.08)      (0.89)
n                            361         361         315         315         361          361         315          315         314         314         314         314
Adj-R2                       0.11        0.12        0.15        0.16        0.09         0.09        0.12         0.13        0.10        0.10        0.11        0.12
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                   Table VI: Short Interest and the Presence or Absence of Financial Misconduct

   Each panel groups all firm-months into four cells based on a two-way classification: (i) whether the amount of
   abnormal short interest is low or high, and (ii) whether the firm subsequently is identified as having misrepresented
   its financial statements in that month. In Panel A, all firm-months from the beginning of a firm’s violation to the
   end of its enforcement action are included in the “Violation” column. Panel B deletes all firm-months between the
   public exposure of the violation to the end of the enforcement action. A firm-month is assigned to the “High ABSI”
   group if the firm’s abnormal short interest in that month is above the 95th percentile of ABSI in the entire cross-
   section of firms for that month. The table reports results based on our first measure of abnormal short interest,
   ABSI(1), although similar results obtain for ABSI(2) and ABSI(3). The sample includes all NYSE/AMEX/NASDAQ
   stocks that are in the intersection of CRSP, Compustat, and the short interest dataset.

                           Panel A:                                                     Panel B:
                       All firm-months                            Excluding months after the enforcement actions begins
            “High ABSI” = 1 if ABSI ≥ 95th percentile                   “High ABSI” = 1 if ABSI ≥ 95th percentile
                              No                                                           No
                           Violation   Violation    Total                               Violation   Violation    Total
    Low       Frequency    1024754      17225      1041979        Low      Frequency    1024008       8719      1032727
    ABSI      Percent       93.42        1.57       94.99         ABSI     Percent       94.19         0.8       94.99
              Row %         98.35        1.65         .                    Row %         99.16        0.84         .
              Column %      95.11       88.22         .                    Column %      95.04       89.19         .

    High      Frequency     52658        2299       54957         High     Frequency     53404       1057        54461
    ABSI      Percent        4.8         0.21        5.01         ABSI     Percent        4.91        0.1         5.01
              Row %         95.82        4.18          .                   Row %         98.06       1.94           .
              Column %       4.89        11.78         .                   Column %       4.96       10.81          .

    Total                  1077412      19524      1096936        Total                 1077412       9776      1087188
                            98.22        1.78        100                                  99.1         0.9        100
    Chi-squared                                                   Chi-squared
    statistic:              1911.66    p-value:         0         statistic:             698.08     p-value:       0
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                                                              44

                       Table VII: Short Sellers and the Market Penalty for Misrepresentation

   This table reports the estimates and corresponding p-values for cross-section regressions that estimate the
   determinants of the market-adjusted abnormal return on the day financial misrepresentation is publicly revealed
   (ARi):
                                  ARi = a + f1 ABSI(1)i,-1 + f2 Severityi + f3 Controlsi + ei,

   The sample includes all SEC enforcement actions for NYSE/AMEX/NASDAQ-listed firms for which data are
   available over the period 1988 through 2005. Abnormal short interest (ABSI(1)i,-1) is actual short interest minus the
   short interest in a portfolio of firms matched by size, book-to-market ratio, momentum, and industry, measured in
   the month before public revelation of the misconduct. Results are similar using the alternate measures of abnormal
   short interest, ABSI(2) or ABSI(3). Fraud is a dummy variable that equals one if the enforcement action includes
   fraud charges under Section 17(a) of the 1933 Securities Act or Section 10 of the 1934 Security Exchange Act.
   Insider trading charges is a dummy variable that equals one if the action includes charges of insider trading. Total
   accruals is based on the measure in Richardson, Sloan, Soliman, and Tuna (2005). Institutional ownership is from
   the CDA/Spectrum database; Size is measured by the log of market capitalization; the Book-to-market ratio is the
   ratio of book assets to the sum of book liabilities and the market value of equity; and Momentum is calculated as the
   previous 12-month market-adjusted return.

                                                                              Models:

           Variables                                     1           2           3            4           5
           Abnormal short interest, ABSI(1)i,-1       -0.314       -0.231      -0.185      -0.191       -0.052
                                                      (0.10)       (0.23)      (0.33)      (0.34)       (0.79)

           Fraud                                                   -9.695                               -7.475
                                                                   (0.00)                               (0.01)

           Insider trading charges                                            -11.774                   -9.050
                                                                               (0.00)                   (0.00)

           Total accruals                                                                  -14.850     -11.181
                                                                                           (0.00)       (0.02)

           Institutional ownership                    -0.073       -0.056      -0.076      -0.064       -0.052
                                                      (0.15)       (0.26)      (0.12)      (0.22)       (0.30)

           Size                                       1.699        1.367       1.627        1.423       1.059
                                                      (0.00)       (0.01)      (0.00)      (0.02)       (0.08)

           Book-to-market ratio                       0.047        0.042       0.036        0.035       0.025
                                                      (0.10)       (0.13)      (0.18)      (0.21)       (0.35)

           Momentum                                   -0.012       -0.012      -0.007      -0.012       -0.009
                                                      (0.07)       (0.06)      (0.27)      (0.07)       (0.17)

           Intercept                                  -24.04       -15.42      -21.12      -21.10       -12.31
                                                      (0.00)       (0.00)      (0.00)      (0.00)       (0.00)

           N                                           340         340          340         295          295
                   2
           Adj-R                                       0.04        0.07         0.10        0.05         0.12
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                                                            45

                   Table VIII: Short Selling and the Public Exposure of Financial Misrepresentation

   This table reports the coefficients estimates and corresponding p-values for the following parametric survival model:

   Mi is the month in which firm i’s misconduct is revealed to the public. The regression is estimated using data from
   all months in the violation period through the month of public revelation. Xi includes variables that are likely to
   affect the exposure of misconduct, most importantly, abnormal short interest. The error term is assumed to follow a
   logistic distribution. The sample includes all misrepresentations for which data are available over the period 1988
   through 2005. Panel A reports the results using the first measure of abnormal short interest, ABSI(1), which is actual
   short interest minus the short interest in a portfolio of firms matched by size, book-to-market ratio, momentum, and
   industry. Results are similar using the alternate measures of abnormal short interest, ABSI(2) and ABSI(3). Panel B
   reports results using instrumental variables for each of the three different measures of abnormal short interest.
   Fraud is a dummy variable that equals one if the enforcement action includes fraud charges under Section 17(a) of
   the 1933 Securities Act or Section 10 of the 1934 Security Exchange Act. Insider trading charges is a dummy
   variable that equals one if the action includes charges of insider trading. Total accruals is based on the measure in
   Richardson, Sloan, Soliman, and Tuna (2005). Institutional ownership is from the CDA/Spectrum database; Size is
   measured by the log of market capitalization; the Book-to-market ratio is the ratio of book assets to the sum of book
   liabilities and the market value of equity; and Momentum is calculated as the previous 12-month market-adjusted
   return.



                        Panel A: Direct tests (using ABSI(1) to measure abnormal short interest)
                                                                          Models
                                                  1              2         3               4             5

            Abnormal short interest            -0.028        -0.025        -0.028       -0.026        -0.023
            (ABSI(1))                         (<0.001)      (<0.001)      (<0.001)     (<0.001)      (<0.001)
            Fraud                                            -0.323                                   -0.480
                                                            (<0.001)                                 (<0.001)
            Insider trading charges                                        -0.008                      0.122
                                                                           (0.91)                     (0.13)
            Total accruals                                                              -0.228        -0.197
                                                                                         (0.05)       (0.07)
            Institutional ownership            -0.0003      -0.0001       -0.0003       -0.0001        0.001
                                               (0.85)        (0.92)        (0.85)        (0.96)       (0.44)
            Size                                0.023        0.012         0.023         0.024        -0.004
                                               (0.16)        (0.47)        (0.16)        (0.19)       (0.83)
            Book-to-market ratio                0.002        0.002         0.002         0.002         0.002
                                               (0.001)       (0.002)      (0.001)       (0.002)       (0.003)
            Momentum                            0.001        0.001         0.001         0.001         0.001
                                               (0.05)        (0.03)        (0.05)        (0.05)       (0.04)
            Intercept                           4.945        5.193         4.947         4.899         5.263

            # of observations                   8902          8902         8902          7160          7160
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                                                     46




                                     Panel B: Instrumental variable tests

                                                               Abnormal short interest:

                                                      ABSI(1)           ABSI(2)           ABSI(3)
              Instrumental variable for ABSI(j)        -0.261            -0.206            -0.158
                                                       (0.00)            (0.00)            (0.00)
              Fraud                                    -0.485            -0.594            -0.540
                                                       (0.00)            (0.00)            (0.00)
              Insider trading charges                   0.099             0.163             0.154
                                                       (0.20)            (0.05)            (0.08)
              Total accruals                           -0.490            -0.524            -0.592
                                                       (0.00)            (0.00)            (0.00)
              Institutional ownership                  0.0020            0.0010            0.0008
                                                       (0.11)            (0.46)            (0.59)
              Size                                      0.052             0.032             0.038
                                                       (0.00)            (0.07)            (0.04)
              Book-to-market ratio                    -0.0068           -0.0106           -0.0096
                                                       (0.57)            (0.42)            (0.48)
              Momentum                                 0.0015            0.0019            0.0017
                                                       (0.00)            (0.00)            (0.00)
              Intercept                                4.732             4.986             4.974
              # of observations                        4922              4922              4922
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                           Table IX: Short Sellers’ External Effects on Uninformed Investors

   This table reports estimates of the external benefits and costs for uninformed investors from short sellers’ trading
   during the period that the firms’ books were in error, using ABSI(1) to measure abnormal short interest (n=359).
   %Shares sold by the firm and insiders is the net change in shares outstanding plus net insider sales, expressed as a
   percentage of shares outstanding at the beginning of the month, and cumulated over all months of the violation
   period. Short sellers’ price impact, Phigh – Pactual, is the difference between the hypothetical price in the absence of
   abnormal short interest and the actual month-end price, expressed as a percentage of the actual share price at the
   beginning of the month. External benefit is the sum of the monthly estimates of Area B in Figure 4. Each monthly
   estimate equals the product of the %Shares sold by the firm and insiders and Short sellers’ price impact, and is
   expressed as a percentage of the firm’s equity value. %New shares created by short sellers is the increase in
   ABSI(1) from the prior month, expressed as a percentage of shares outstanding at the beginning of the month, and
   cumulated over all months of the violation period. Short sellers’ profit per share, Pactual – Ptrue is the difference
   between the actual price and the price when news of the misconduct is first revealed to the public, expressed as a
   percentage of the actual share price at the beginning of the month. External cost is the sum of the monthly estimates
   of Area C in Figure 4. It equals the product of %New shares created by short sellers and Short sellers’ profit per
   share. The Net external effect is the difference between External benefit and External cost. Each variable is
   measured in each month of a firm’s violation period, and summed over all violation period months. The table
   reports the mean and median of the cross-section of firm-specific measures and, in brackets, the 95% confidence
   interval for the mean. t-statistics and confidence intervals are computed from the cross section of firm-specific
   measures.

                                                                                      Mean
                                                                                                         Median
                                                                                [95% conf. interval]

       External benefit:
          % Shares sold by the firm and insiders                                      45.65                8.34
                                                                                  [26.24, 65.06]

          Short sellers’ price impact, Phigh – Pactual (% of share price)               2.41               0.22
                                                                                    [1.61, 3.21]

       External benefit (sum of monthly estimates of Area B)                            1.67               0.00
                                                                                    [0.25, 3.09]

       External cost ( = short sellers’ profits):
          % New shares created by short sellers                                         1.12               0.08
                                                                                    [0.54, 1.70]

          Short sellers’ profit per share, Pactual – Ptrue (% of share price)          12.13              30.44
                                                                                   [2.35, 21.91]

       External cost (sum of monthly estimates of Area C)                              0.58                0.08
                                                                                   [–0.05, 1.21]

       Net external effect (sum of monthly Area B – Area C):
          Main estimate                                                                1.09               -0.06
                                                                                   [–0.80, 2.98]

          Using a lower-bound estimate of external cost                                 1.53               0.00
                                                                                    [0.01, 3.05]
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                                                                    48




                                                                          Enforcement Period


                 Violation Period                                                                     Regulatory Period
                                                  *

                                                                                                       Proceedings Events
     Violation              Violation   Trigger       Inquiry Investigation     Wells          Initial                 Concluding
      Begins                  Ends       Event         Event     Event          Notice       Regulatory                Regulatory
                                                                                             Proceeding                Proceeding


                 Violation to Revelation                                      Enforcement Events
    * The initial filing of a private lawsuit usually occurs soon after the trigger event.



                                     Figure 1: Timeline of a Typical Enforcement Action
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                           Figure 2: Short Interest around the Revelation of Misconduct

         This figure plots the data reported in Table IV, which contains the mean levels of raw and abnormal
         short interest in the 40-month window around the public revelation of misconduct for the sample of
         firms targeted in SEC enforcement actions for financial misrepresentation from 1988-2005. Month 0
         is the month in which the misrepresentation was first publicly revealed. SI is the mean level of raw
         short interest. ABSI(1), ABSI(2), and ABSI(3) refer to the three different measures of abnormal short
         interest. Each measure of abnormal short interest equals raw short interest minus the predicted short
         interest using the model parameters summarized in Table III.
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    $




                                                   Hypothetical price without abnormal short selling (Phigh)

              Area B:
            Benefits to
            uninformed
             investors
                                                                     Actual price with short selling (Pactual)
                                                                     Actual price with short selling (Pactual)
                                       Area C:
                                       Costs to
                                     uninformed
                                      investors
                                                               Hypothetical price with no misconduct (Ptrue)




                                                                                      ∆#shares outstanding


                       Shares sold by the          Shares sold by the
                       firm and insiders           firm and insiders
                                                     + New shares
                                                    created by short
                                                         sellers

                            Figure 3: External effects of short sellers on uninformed investors

   This figure illustrates two external effects of short sellers on uninformed investors during a period in which the
   firm’s financial statements are in error. The top line (Phigh) represents the hypothetical price at which shares would
   trade in a given month t if there was no abnormal short selling. It is calculated using a model of monthly share
   returns with an additional regressor that estimates the marginal impact on monthly returns from abnormal short
   interest. The middle line (Pactual) represents the observed price in the month. The bottom line (Ptrue) represents the
   hypothetical price at which shares would trade if there was no financial misconduct (or abnormal short selling).
   Shares sold by the firm and insiders is the net change in the number of outstanding shares in month t plus the net
   number of shares sold by insiders in month t. New shares created by short sellers is the net change in abnormal
   short interest. Area B represents the external benefits to uninformed investors because abnormal short interest
   dampens the price inflation during the misconduct period. Area C represents the external cost to uninformed
   investors due to the additional shares created by short selling, and equals short sellers’ profit.
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                                        Internet Appendix for
                              “Short Sellers and Financial Misconduct”1

                                  Jonathan M. Karpoff and Xiaoxia Lou


          This Appendix reports on extensions, sensitivity tests, and goodness-of-fit tests of the

   results reported in “Short Sellers and Financial Misconduct.”



                          I. A tabular summary of results and contribution

          Table IA.I summarizes the tests and results reported in the main paper. The paper raises

   two main questions, reports on three types of tests for each question, and concludes with a simple

   answer to each question.

          The first question is “Do short sellers detect financial misrepresentation?” In the first test

   (Table IV and Figure 2 of the paper), we report that abnormal short interest increases steadily in

   the 19 months before the misconduct is revealed to the public, and subsequently unwinds in the

   subsequent 20 months. The second test (Table V) reveals that short selling is sensitive to

   measures of the misconduct severity. The third test (Table VI) reports that short interest

   concentrates in firm-months in which it subsequently is revealed that the firm was

   misrepresenting its financial statements. Together, these results indicate that short sellers are

   proficient at identifying financial misrepresentation before it is publicly revealed. Because we

   control for short interest driven by firm size, book-to-market, institutional ownership, share

   turnover, insider selling, and total accruals, we infer that short sellers are not simply basing their

   positions on such controls. For example, they are not simply chasing accruals. We infer that

   1
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   short sellers have superior private information or ability to process public information about the

   financial misconduct. Anecdotes from Einhorn (2008) indicate that at least some short selling

   before the revelation of financial misconduct is driven by short sellers’ ability to process public

   information.

          The second question addressed in the paper is whether short selling generates external

   costs or benefits for other investors. In our first test of this question (Table VII) we do not find

   support for one conjecture, which is that short selling imposes external costs because it helps

   trigger a cascade of selling when bad news is publicly revealed. The second test (Table VIII)

   reports that short interest is positively related to how quickly the misconduct is revealed to the

   public. Our point estimate is that the time-to-discovery is shortened by eight months moving

   from the 25th to the 75th percentile of short interest in month 12 of the violation period. Our third

   test (Table IX) measures the sizes of the transfers to and from uninformed investors through their

   price impact. We conclude that short selling has negligible effects on uninformed investors in

   the median firm. In some firms, however, short sellers generate large savings for uninformed

   investors, so much so that the average savings is about 1% of the firm’s market capitalization.

          There is not much overlap between the six main results summarized in Table IA.I and

   prior research. The largest overlap regards result #1: as discussed in the paper, Dechow, Sloan,

   and Sweeney (1996), Desai, Krishnamurthy, and Venkataraman (2006), and Efendi, Kinney, and

   Swanson (2006) all examine short selling before some indicator of financial misconduct, e.g., an

   earnings restatement. In addition, Desai, Krishnamurthy, and Venkataraman (2006) examine

   how short selling is related to accruals, which overlaps with our result #2. To our knowledge,

   the other tests and results have not been considered in previous papers. As argued in section I of

   the paper, the KLM database also enables tests with greater power than previous tests.




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                                II. The overall pattern of abnormal short selling

             Figure IA.1 illustrates the overall pattern of abnormal short selling (using ABSI(1))

   around both the initiation and discovery of financial misconduct. To construct the Figure, we

   standardize the period between the initiation and discovery of the misconduct to be 20 pseudo-

   months for every firm, spreading or compressing each firm’s time-to-revelation into 20 intervals

   of equal length. The resulting pattern shows a build-up of abnormal short interest that begins

   most noticeably two months before the violation officially begins. Abnormal short interest then

   grows substantially during the violation period, peaking in the second month after the

   misrepresentation is publicly revealed. It then decreases until, 20 (actual) months after public

   discovery, it reaches approximately the same level as immediately before the violation start date.

             To explain the build-up of short interest before the violation start date, we conjecture that

   some violations begin before the dates identified by the SEC as the official start dates. The SEC

   tends to limit its enforcement activities to firms and periods during which it has substantial

   evidence of misconduct, so it probably is conservative when it identifies the start of the violation

   period.



                          III. On the measurement of abnormal short interest

             Our measures of abnormal short interest are based on prior research that shows that short

   interest is related to such firm characteristics as size, book-to-market, and momentum (e.g.,

   Dechow et al. (2001), Asquith, Pathak, and Ritter (2005), and Duarte, Lou, and Sadka (2008)).

   Nonetheless, we conducted many tests to examine the reasonableness of our abnormal short

   interest measures and the robustness of the results.

             For example, to calculate the three short interest benchmarks, E(SIit(j)), j = 1, 2, 3, we

   use dummy variables to group firms into three categories for most control variables (e.g., high,


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   medium, or low book-to-market). Total accruals and insider selling are measured as continuous

   variables. The results are not sensitive to the use of dummy variables or continuous

   measurements for any of our control variables. For example, using continuous variables for each

   control variable, the results are similar to those reported in the paper. Using a continuous

   measure for momentum or share turnover, however, yields one interesting result. In the month

   of a firm’s public revelation date, momentum typically is very small (large negative returns) and

   share turnover typically is very large. Using continuous measures of momentum or share

   turnover causes large fluctuations in expected short interest in month +1, causing abnormal short

   interest in month +1 also to be highly variable. The results for all other months are similar to

   those reported in the tables.

          We also examined the sensitivity of the results to different measures of abnormal short

   interest. Table IA.II reports the results using four alternate measures. The first three differ in the

   way that expected short interest, E(SIit), is defined and measured. In Model 1, E(SIit) includes all

   of the controls as in ABSI(3), plus a control for the dispersion in analysts’ forecasted earnings.

   Data on analysts’ forecasts, which are from I/B/E/S, limit the sample size. But the results are

   similar to those in Table IV in the paper.

          In Model 2, E(SIit) includes all of the controls as in ABSI(1) plus a control for the level of

   short interest before the violation period. Each firm in the sample is paired with a single

   benchmark firm. The benchmark firm is the one firm in the same size, book-to-market,

   momentum, and industry portfolio that has short interest closest to that of the sample firm in the

   month before the start of the violation period. Abnormal short interest in any month t is the

   difference between the sample firm’s short interest and that of its matched control firm. In

   Model 3, E(SIit) is defined as the sample firm’s mean level of short interest measured in the




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   month before the beginning of its violation period. The results from Models 1 through 3 all are

   similar to those reported in the paper using ABSI(j), j=1,2,3.

          In Model 4, abnormal short interest is defined as a binary variable, D(ABSI), similar to

   the notion used by Dyck, Morse, and Zingales (2008). D(ABSI) is set equal to one if it exceeds

   the firm’s average short interest in the 12 months before its violation period by at least three

   standard deviations (standard deviation is measured in the same 12-month pre-violation period).

   The numbers reported in the table are the fraction of firms in each event month t for which

   D(ABSI) = 1. The p-values are from a chi-squared test with one degree of freedom of the null

   hypothesis that the fraction of firms for which D(ABSI) = 0 equals or is less than 0.15%, which is

   the probability that a variable with the normal distribution falls more than three standard

   deviation above the mean.

          All four alternate measures yield similar inferences. In each case, abnormal short interest

   builds during the 19 months before public revelation of the misconduct. It is positive and

   statistically significant in months –1 and 0, peaks shortly after the month of public revelation,

   and winds down in the following months.



                           IV. Abnormal returns and misconduct severity

          Table IA.III shows that our three primary measures of misconduct severity (Fraud,

   Insider trading charges, and Total accruals) are negatively and significantly related to the one-

   day abnormal stock return on the day of initial public revelation. This is consistent with the

   premise that each is a good proxy for the severity of misconduct. If these variables are thought

   of as instruments for the abnormal stock return, then Table IA.III indicates that the instruments

   meet the relevance exclusion for a good instrumental variable.




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                             V. Additional measures of misconduct severity

           Table IA.IV is similar to Table V in the paper, except that we introduce four additional

   measures of misconduct severity. The first, Regulatory fines, is the size of the regulatory fine

   imposed on the firm for financial misrepresentation. The second, Private lawsuit award, is the

   size of the settlement if the misrepresentation prompted a private securities class action lawsuit.

   The third, Non-monetary penalties, is Karpoff, Lee, and Martin’s (2009) index of non-monetary

   regulatory sanctions for financial misconduct. Data for all three are from the KLM database.

           The results using Regulatory fines or Private lawsuit award are similar to those reported

   in the paper, indicating that ABSI(j)i,-1 is positively related to the severity of the misconduct. In

   contrast, ABSI(j)i,-1 is not significantly related to Non-monetary penalties. This is consistent with

   findings reported by Karpoff, Lee, and Martin (2009) that non-monetary sanctions are a

   relatively noisy measure of misconduct severity. Notice that, when these three additional

   measures are included, as in Model 4, our three main measures of severity all are positively and

   significantly related to ABSI(j)i,-1.

           The fourth additional measure of misconduct severity is a dummy variable that equals

   one if the firm subsequently declares bankruptcy during its enforcement period. Karpoff, Lee,

   and Martin (2008b) find that the firm’s reputation loss is both large and positively related to the

   severity of the misconduct. This suggests that egregious violations are more likely to impose

   such large losses on the firm as to trigger bankruptcy, and so Bankruptcy is a measure of the

   severity of the misconduct. Consistent with this conjecture, short interest in month –1 is larger

   for bankruptcy firms than for non-bankruptcy firms.

           A referee pointed out that Campbell, Hilscher, and Szilagy (The Journal of Finance,

   December 2008) find that financially distressed stocks have abnormally low returns, and

   suggested that the short selling we measure might anticipate poor performance, not financial


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   misconduct – or that it anticipates financial misconduct and not the subsequent poor

   performance. To examine this issue we partitioned the sample into firms that subsequently

   declared bankruptcy and those that did not. Abnormal short interest is higher in the bankruptcy

   group, but the build-up before public revelation is positive and statistically significant in both

   groups. This indicates that abnormal short interest is driven at least in part by financial

   misrepresentation. We have not investigated the firm characteristics that lead to bankruptcy, so

   we cannot address whether any short selling before bankruptcy is actually due to financial

   misconduct. A broader inquiry into this issue would need to examine the relationships between

   short selling, financial performance, misconduct, and bankruptcy.



         VI. The relation between misconduct severity and the build-up of short interest

          Table V in the paper reports how short interest in the month before public revelation is

   positively related to the severity of the misconduct. We also examined how the change in

   abnormal short interest from month -19 to month -1 is related to the severity of the misconduct.

   Specifically, we estimate the following equation:

                                                                                              (6)

   The results are reported in Table IA.V. All three proxies are positively related to the cumulative

   change in abnormal short interest. The coefficients for Fraud and Total accruals are statistically

   significant, both when considered separately and when all three proxies are considered together,

   as in Model 4.

          Overall, the results in Tables V and IA.V indicate that short interest is positively related

   to the severity of the misrepresentation that subsequently is revealed to the public. Short sellers

   not only pre-identify firms that get into trouble for misrepresenting their financial statements.




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   They also take larger positions when the misrepresentation is particularly egregious. That is,

   short sellers appear to anticipate both the existence and severity of financial misrepresentation.



                                  VII. Stock returns after public revelation

          We also examined the stock price behavior after the initial disclosure of misconduct. If

   short selling causes overreaction – either in the short term or long term – then we should see

   differences in the stock price paths of our sample firms that correspond to differences in short

   interest. The results, however, do not support an overreaction story.

          Figure IA.II reports a representative test. The blue (upper) line represents the cumulative

   abnormal one-day abnormal stock return for the portfolio of sample firms with lower-than-

   average ABSI(1) in month –1. The gray (lower) line represents the cumulative return for firms

   with higher-than-average ABSI(1). The abnormal return on the day of public revelation is more

   negative for the high-ABSI(1) group. This is consistent with our findings that abnormal short

   interest is positively related to misconduct severity, and severity is related to the magnitude of

   the stock price drop on day 0. After day 0, however, the longer-term abnormal returns are not

   significantly different from each other, nor are they significantly different from zero. There is no

   price reversal after day 0 in either group.



                              VIII. Sensitivity test for Table VII results

          Table IA.VI reports a variation of the test reported in Table VI of the paper. In Table VI,

   we define “high short interest” to consist of firm-months in which abnormal short interest is in

   the top 5% of the distribution of abnormal short interest. In Table IA.VI, we use a top 10%

   threshold to categorize firms into the “high short interest” group. The results are similar to those

   in Table VI. For example, in Panel A of Table IA.VI, χ2 = 2877 with a p-value = 0.00. (Using


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   still lower thresholds, e.g., the top 25%, yields similar results.) These results indicate that short

   interest concentrates in firm-months that subsequently are revealed to have financial

   misrepresentation.



                             IX. Short interest and the time to revelation

          We conducted several goodness-of-fit tests for the model used to estimate equation (8) in

   the paper, as described by Cleves et al. (2004). In some specifications, we find that the time-to-

   revelation is positively related to Tit, the number of months since the start of the violation. This

   indicates that the probability of uncovering misconduct in any given month t is negatively related

   to how long the misconduct has been going on. The time-to-revelation also is positively related

   to the interaction of Tit and abnormal short interest. This indicates that the impact of short

   interest on the speed with which misconduct is discovered decreases with Tit. The coefficient for

   this interaction term, however, is small, so that the overall impact of short interest is to hasten the

   time to discovery. In all of the sensitivity tests we conducted, the coefficient for abnormal short

   interest remains negative and statistically significant.



                             X. Alternate Estimates of the Net External Benefits

          Table IX in the paper reports estimates of the external effects on uninformed investors via

   short sellers’ impact on prices during the violation period, using ABSI(1) to measure abnormal

   short interest. Table IA.VII reports similar estimates based on ABSI(2) and ABSI(3). The

   results are similar using these other two measures of abnormal short interest. Depending on the

   specific measure of abnormal short interest, short sellers generate external benefits for

   uninformed traders that average between 1.12% and 1.67% of equity value. But these benefits

   are concentrated in a small number of firms and they are negligible for the median firm. Short


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   sellers make profits on their trades that average between 0.36% and 0.94% of the firm’s equity

   value, leaving a net external benefit of between 0.19% and 1.09% of the firm’s equity value. If

   we use a lower-bound estimate of short sellers’ external costs, the measures of net benefit

   increase to between 0.89% and 1.53% of equity value. The overall conclusions remain the same:

   short sellers generate external benefits, which in the median case they internalize with their

   trading profits. For a small number of firms, however, the external benefits are large, indeed,

   large enough to affect the mean estimates. Short sellers generate net external benefits

   particularly when they take positions in misrepresenting firms that issue new (overpriced) shares

   to uninformed investors.



                              XI. Insider trading and abnormal short interest

   A referee made the following suggestion:

          “One possible interpretation of these results is that some insiders know of the

   misrepresentation and the likelihood of an investigation, and they short sell shares of their own

   firm to profit from this knowledge. This idea is supported empirically in Agrawal and Cooper

   (2008). Could it be the case that firms investigated for insider trading are more likely to have

   insider short selling, because of a disregard for insider trading rules that is associated with the

   culture of the firm? … One conjecture … is that short selling happens earlier for insider trading

   firms, perhaps before the 19 month cutoff. It might be worth displaying the pattern of short

   interest separately for each type of misconduct to see if insider trading firms have a different

   pattern of timing, especially early on.”


          Following the referee’s suggestion, Figure IA.III partitions the sample into two groups

   with high and low insider selling. Abnormal short interest is relatively high for the high insider



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   selling group in some event-months, but not before month –13. In the early months, abnormal

   short interest is slightly higher in the low insider selling group. This graph plots the third

   measure of abnormal short interest ABSI(3), although the results are similar using ABSI(1) or

   ABSI(2).




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                                          Table IA.I
                           Summary of main questions, tests, and results


           Question:        Do short sellers detect financial     Do they convey external benefits or
                                 misrepresentation?                    costs on other investors?

                        1. Abnormal short interest increases    4. High short interest does not trigger
           Findings:       steadily before the misconduct is       a large price drops when the
                           revealed to the public.                 misconduct is revealed.

                        2. Abnormal short interest is           5. Short interest is related to how
                           positively related to the severity      quickly the misconduct is
                           of the misconduct.                      discovered by the public.
                                                                6. Short sellers’ price impact saves
                        3. Abnormal short interest in general
                                                                   uninformed investors save roughly
                           concentrates in firm-months with
                                                                   1% of market cap during the
                           misrepresentation.
                                                                   violation period.

           Inference:                     Yes.                             External benefits.




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                      Table IA.II: Alternative Measures of Abnormal Short Interest
   The table reports the abnormal short interest in the 30 months around the public revelation of financial misconduct
   using four alternative measures of abnormal short interest. In Model 1, normal short interest is calculated using all
   the controls in Model 3 of Table III, plus a control for the dispersion in analysts’ forecasted earnings. In Model 2,
   normal short interest is the short interest of the one firm in the same size, book-to-market, momentum, and industry
   portfolio that has the short interest level closest to that of the sample firm in the month before the start of the
   violation period. In Model 3, normal short interest is the sample firm’s own level of short interest measured in the
   month before the start of the violation period. In Model 4, normal short interest is measured as the firm’s mean
   short interest in the 12 months before its violation period plus three times the standard deviation of short interest
   over the same period. If a firm’s short interest exceeds normal short interest, then D(ABSI) takes the value of one,
   and zero otherwise. The first column under Model 4 reports the fraction of firms for which D(ABSI) equals one.
   The p-value is from a chi-square test with one degree of freedom for the null hypothesis that this fraction exceeds
   0.15%, which is the probability that a variable with the normal distribution falls three standard deviations above the
   mean.

                       Model 1                   Model 2                 Model 3                       Model 4
     Month       ABSI   N t-stat             ABSI N      t-stat      ABSI N      t-stat      D(ABSI)       N     P-value
      -19         0.367 118 0.98            0.455 138 1.32           0.328 196 1.57           0.302       189    <.0001
      -18         0.487 125 1.31            0.476 140 1.36          -0.047 205 -0.10          0.320       197    <.0001
      -17         0.599 126 1.59            0.506 139 1.38           0.128 205 0.27           0.354       198    <.0001
      -16         0.788 130 2.25            0.638 149 1.94           0.208 219 0.44           0.357       210    <.0001
      -15         0.669 138 2.17            0.645 154 2.21           0.196 233 0.45           0.368       223    <.0001
      -14         1.086 140 3.22            0.589 158 2.23           0.192 245 0.46           0.374       235    <.0001
      -13         1.143 151 3.07            0.779 165 2.84           0.384 258 0.95           0.375       248    <.0001
      -12         1.439 145 3.38            0.753 161 2.52           0.465 253 1.11           0.383       243    <.0001
      -11         1.685 153 3.75            0.978 170 2.97           0.789 264 1.87           0.425       254    <.0001
      -10         1.622 164 3.70            0.768 181 2.42           0.842 279 2.07           0.414       268    <.0001
       -9         1.623 169 3.57            0.838 180 2.59           0.964 280 2.30           0.409       269    <.0001
       -8         1.572 187 3.69            0.869 186 2.69           0.954 289 2.33           0.403       278    <.0001
       -7         1.607 190 3.72            0.974 192 3.02           1.022 299 2.51           0.392       288    <.0001
       -6         1.791 200 4.08            1.018 191 3.05           1.019 300 2.45           0.408       289    <.0001
       -5         1.981 200 4.44            0.974 195 2.87           1.096 307 2.64           0.409       296    <.0001
       -4         1.771 203 4.16            0.915 194 2.69           0.910 310 2.22           0.397       300    <.0001
       -3         1.844 210 4.08            0.963 194 2.71           1.052 308 2.52           0.399       298    <.0001
       -2         1.722 207 3.93            0.804 188 2.27           1.175 306 2.73           0.434       295    <.0001
       -1         2.073 210 4.50            0.889 189 2.43           1.218 303 2.80           0.416       293    <.0001
        0         2.132 194 4.27            1.132 172 2.59           1.178 267 2.47           0.446       258    <.0001
        1         2.079 171 3.80            1.183 151 3.07           1.253 241 2.58           0.440       234    <.0001
        2         1.927 167 3.79            1.077 145 2.82           1.242 233 2.59           0.446       224    <.0001
        3         1.913 162 3.85            0.917 142 2.21           1.114 230 2.35           0.439       221    <.0001
        4         1.932 157 3.70            0.825 141 1.81           0.971 221 1.90           0.420       212    <.0001
        5         1.880 156 3.50            0.782 140 1.53           1.086 217 1.94           0.438       208    <.0001
        6         1.463 151 2.77            0.604 136 1.18           0.725 213 1.32           0.425       207    <.0001
        7         0.979 143 2.25            0.425 139 0.91           0.535 211 0.97           0.400       205    <.0001
        8         0.721 139 1.97            0.357 136 0.76           0.283 205 0.51           0.417       199    <.0001
        9         0.685 136 1.89             0.35 134 0.73           0.233 202 0.42           0.408       196    <.0001
      10          0.648 137 1.65            0.276 132 0.55           0.287 202 0.51           0.405       195    <.0001




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                    Table IA.III: Abnormal Stock Returns and Misconduct Severity

   The market-adjusted one-day return on the day the misconduct was publicly revealed is regressed on the three main
   measures of misconduct severity: Fraud, Insider Trading Charges, and Total Accruals.




   All independent variables are measured at the end of the month prior to the revelation of misconduct. This table
   reports the estimates and corresponding p-value for the cross-section regressions.



                                                        1          2           3           4
                         Severity measures:
                         Fraud                        -9.655                             -7.862
                                                      (0.00)                             (0.00)
                         Insider trading charges                 -11.21                  -9.782
                                                                 (0.00)                  (0.00)
                         Total accruals                                      -7.257      -6.340
                                                                             (0.02)      (0.16)
                         Control variables:
                         Inst. ownership              -0.078     -0.096      -0.082      -0.074
                                                      (0.09)     (0.03)      (0.10)      (0.10)
                         Size                          1.384     1.603        1.321       1.172
                                                      (0.01)     (0.00)      (0.03)      (0.03)
                         Book-to-market ratio          0.341     0.283        0.273       0.157
                                                      (0.49)     (0.56)      (0.62)      (0.38)
                         Momentum                     -0.012     -0.008      -0.012      -0.006
                                                      (0.07)     (0.26)      (0.09)      (0.40)
                         Intercept                    -14.75     -20.20      -20.70      -12.17
                                                      (0.00)     (0.00)      (0.00)      (0.00)
                         n                              355       355          287         273
                         Adj-R2                        0.064     0.081        0.028       0.110




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                                              Table IA.IV: Additional Measures of Misconduct Severity
This table reports the estimates and corresponding p-values from cross-sectional regressions that estimate the determinants of abnormal short interest before the
financial misrepresentation is publicly revealed, using four additional measures of misconduct severity:

All variables are measured in the month before the misrepresentation is publicly revealed. Regulatory fines is the logarithm of one plus the size of the regulatory
fines imposed on the firm for financial misrepresentation. Private lawsuit award is the logarithm of one plus the size of the settlement if the misrepresentation
prompted a private securities class action lawsuit. Non-monetary penalties is the logarithm of one plus the Karpoff, Lee, and Martin’s (2009) index of non-monetary
regulatory sanctions for financial misconduct. Bankruptcy is a dummy variable that equals one if the firm filed for bankruptcy before the end of its enforcement
period.

                                            ABSI(1)                                            ABSI(2)                                      ABSI(3)
                            1        2         3        4        5            1         2        3         4        5          1        2         3        4          5
Severity measures:
Regulatory fines          0.142                       0.153                 0.136                        0.151               0.145                       0.152
                          (0.01)                      (0.02)                (0.01)                       (0.02)              (0.01)                      (0.02)
Private lawsuit award              0.102              0.026                           0.089              0.020                        0.082              0.014
                                   (0.01)             (0.59)                          (0.02)             (0.66)                       (0.06)             (0.76)
Non-monetary
                                             0.069    -1.445                                    0.022    -1.464                                 -0.017   -1.476
penalties
                                             (0.83)   (0.00)                                    (0.95)   (0.00)                                 (0.96)   (0.00)
Bankruptcy                                                     2.172                                              2.044                                             1.916
                                                               (0.00)                                             (0.00)                                            (0.01)
Fraud                                                 1.866                                              2.138                                           2.152
                                                      (0.06)                                             (0.03)                                          (0.03)
Insider Trading                                       1.822                                              1.608                                           1.597
                                                      (0.04)                                             (0.07)                                          (0.07)
Total accruals                                        4.635                                              4.263                                           3.856
                                                      (0.00)                                             (0.00)                                          (0.01)
Control variables:
Institutional ownership    0.087   0.084      0.090    0.092    0.090        0.072   0.069      0.074     0.078    0.074      0.079    0.078     0.082    0.077      0.082
                          (0.00)   (0.00)    (0.00)   (0.00)   (0.00)       (0.00)   (0.00)    (0.00)    (0.00)   (0.00)     (0.00)   (0.00)    (0.00)   (0.00)     (0.00)
Size                      -0.839   -0.812    -0.758   -0.825   -0.661       -0.734   -0.703    -0.656    -0.722   -0.564     -0.788   -0.757    -0.697   -0.709     -0.618
                          (0.00)   (0.00)    (0.00)   (0.00)   (0.00)       (0.00)   (0.00)    (0.00)    (0.00)   (0.00)     (0.00)   (0.00)    (0.00)   (0.00)     (0.00)
Book-to-market ratio       0.088   0.149      0.130    0.143    0.144        0.065   0.121      0.104     0.138    0.118      0.095    0.142     0.134    0.143      0.136
                          (0.53)   (0.29)    (0.36)   (0.36)   (0.30)       (0.64)   (0.38)    (0.45)    (0.37)   (0.39)     (0.55)   (0.36)    (0.40)   (0.35)     (0.38)
Momentum                   0.005   0.006      0.005    0.003    0.006        0.005   0.006      0.005     0.004    0.006      0.006    0.007     0.006    0.003      0.007
                          (0.38)   (0.28)    (0.37)   (0.61)   (0.26)       (0.33)   (0.25)    (0.32)    (0.49)   (0.22)     (0.31)   (0.22)    (0.29)   (0.53)     (0.23)
Intercept                  1.522   1.919      2.208    1.571    1.091        1.203   1.621      1.954     1.133    0.812      1.122    1.684     2.027    1.161      0.975
                          (0.07)   (0.02)    (0.04)   (0.22)   (0.22)       (0.15)   (0.04)    (0.06)    (0.37)   (0.35)     (0.23)   (0.06)    (0.08)   (0.36)     (0.31)
n                           361     361        361      315      361          361     361        361       315      361        314      314       314      314        314
Adj-R2                     0.12     0.12      0.10     0.18     0.128        0.09     0.09      0.07      0.16     0.098      0.10     0.10      0.08     0.15       0.104



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                                Table IA.V: Determinants of the Change in Short Interest Over Months [-19,-1]
This table reports the estimates and corresponding p-values from cross-sectional regressions that estimate the determinants of the change in abnormal short interest
before the financial misrepresentation is publicly revealed:

The change is measured from month -19 through month -1 relative to the month in which the misrepresentation is publicly revealed. The sample includes all SEC
enforcement actions on NYSE/AMEX/NASDAQ-listed firms for which data are available over the period 1988 through 2005. Fraud is a dummy variable that equals
one if the enforcement action includes fraud charges under Section 17(a) of the 1933 Securities Act or Section 10 of the 1934 Security Exchange Act. Insider trading
charges is a dummy variable that equals one if the action includes charges of insider trading. Variable Total accruals is based on the measure in Richardson, Sloan,
Soliman, and Tuna (2005). Institutional ownership is from the CDA/Spectrum database; Size is measured by the log of market capitalization; the Book-to-market
ratio is the ratio of book assets to the sum of book liabilities and the market value of equity; and Momentum is calculated as the previous 12-month market-adjusted
return.

                                                                                   Measure of abnormal short interest:
                                            Panel A: ∆ABSI(1)                              Panel B: ∆ABSI(2)                              Panel C: ∆ABSI(3)
                                     1         2        3           4                1         2         3          4              1         2        3           4
Severity measures:
Fraud                              1.550                          1.510            1.873                           1.836         1.885                          1.769
                                   (0.03)                         (0.07)           (0.01)                          (0.02)        (0.01)                         (0.02)
Insider trading charges                      1.156                0.596                       1.067                0.404                   0.875                0.160
                                             (0.11)               (0.47)                      (0.13)               (0.61)                  (0.25)               (0.84)
Total accruals                                          2.636     2.171                                 2.684      2.264                              2.903     2.603
                                                        (0.12)    (0.20)                                (0.10)     (0.17)                             (0.07)    (0.11)
Control variables:
Inst. ownership                    0.021     0.024     0.033      0.028             0.016      0.019     0.030     0.024         0.029      0.033    0.034      0.029
                                   (0.11)    (0.07)    (0.02)     (0.05)           (0.22)     (0.14)    (0.04)    (0.08)         (0.04)    (0.02)    (0.01)     (0.04)
Size                               -0.238    -0.273    -0.378     -0.293           -0.194     -0.241    -0.379    -0.281         -0.250    -0.327    -0.382     -0.292
                                   (0.11)    (0.07)    (0.03)     (0.10)           (0.18)     (0.10)    (0.03)    (0.10)         (0.13)    (0.05)    (0.02)     (0.08)
Book-to-market ratio               -0.132    -0.149    -0.190     -0.152           -0.071     -0.095    -0.133    -0.090         -0.083    -0.118    -0.129     -0.089
                                   (0.39)    (0.33)    (0.24)     (0.35)           (0.64)     (0.53)    (0.40)    (0.57)         (0.59)    (0.44)    (0.40)     (0.56)
Momentum                           0.003     0.002     0.003      0.003             0.006      0.005     0.005     0.006         0.006      0.005    0.005      0.006
                                   (0.54)    (0.68)    (0.64)     (0.57)           (0.27)     (0.39)    (0.34)    (0.27)         (0.25)    (0.40)    (0.40)     (0.31)
Intercept                          0.325     1.369     1.638      0.048            -0.250      1.109     1.438    -0.411         -0.519     1.025    1.223      -0.477
                                   (0.75)    (0.10)    (0.07)     (0.97)           (0.80)     (0.17)    (0.10)    (0.71)         (0.64)    (0.25)    (0.16)     (0.67)
n                                   261       261       228        228               261        261       228       228           223        223      223        223
Adj-R2                              0.02      0.01      0.02       0.03              0.03       0.01      0.02      0.04          0.04       0.02     0.03       0.05



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                  Table IA.VI: Short Interest and the Presence or Absence of Financial Misconduct

   Each panel groups all firm-months into four cells based on a two-way classification: (i) whether the amount of
   abnormal short interest is low or high, and (ii) whether the firm subsequently is identified as having misrepresented
   its financial statements in that month. In Panel A, all firm-months from the beginning of the violation to the end of
   the enforcement action are included in the “Violation” column. Panel B deletes all firm-months between the public
   exposure of the violation to the end of the enforcement action. A firm-month is assigned to the “High ABSI” group
   if the firm’s abnormal short interest in that month is above the 90th percentile of ABSI in the entire cross-section of
   firms for that month. The table reports results based on our first measure of abnormal short interest, ABSI(1),
   although results are similar for ABSI(2) and ABSI(3). The sample includes all NYSE/AMEX/NASDAQ stocks that
   are in the intersection of CRSP, Compustat, and the short interest dataset.


                           Panel A:                                                     Panel B:
                       All firm-months                            Excluding months after the enforcement actions begins
            “High ABSI” = 1 if ABSI ≥ 90th percentile                   “High ABSI” = 1 if ABSI ≥ 90th percentile
                              No                                                            No
                           Violation   Violation     Total                               Violation   Violation    Total
    Low       Frequency     971797      15341       987138        Low       Frequency     970616       7752      978368
    ABSI      Percent        88.59        1.4        89.99        ABSI      Percent        89.28       0.71       89.99
              Row %          98.45       1.55          .                    Row %          99.21       0.79         .
              Column %       90.2       78.58          .                    Column %       90.09       79.3         .

    High      Frequency     105615       4183       109798        High      Frequency     106796       2024      108820
    ABSI      Percent        9.63        0.38        10.01        ABSI      Percent        9.82        0.19       10.01
              Row %          96.19       3.81          .                    Row %          98.14       1.86         .
              Column %        9.8        21.42         .                    Column %       9.91        20.7         .

    Total                   1077412     19524      1096936        Total                  1077412       9776      1087188
                             98.22       1.78        100                                   99.1         0.9        100
    Chi-squared                                                   Chi-squared
    statistic:              2876.68    p-value:         0         statistic:              1252.56    p-value:       0




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                           Table IA.VII: Short Sellers’ External Effects on Uninformed Investors
   This table reports estimates of short sellers’ external benefits and costs for uninformed investors, similar to Table IX
   in the paper, using ABSI(2) and ABSI(3) to measure abnormal short interest. %Shares sold by the firm and insiders
   is the net change in shares outstanding plus net insider sales, expressed as a percentage of shares outstanding at the
   beginning of the month, and cumulated over all months of the violation period. Short sellers’ price impact, Phigh –
   Pactual, is the difference between the hypothetical price in the absence of abnormal short interest and the actual
   month-end price, expressed as a percentage of the actual share price at the beginning of the month. External benefit
   is the sum of the monthly estimates of Area B in Figure 4. Each monthly estimate equals the product of the
   %Shares sold by the firm and insiders and Short sellers’ price impact, and is expressed as a percentage of the firm’s
   equity value. %New shares created by short sellers is the increase in ABSI(j), j=1,2,3 from the prior month,
   expressed as a percentage of shares outstanding at the beginning of the month, and cumulated over all months of the
   violation period. Short sellers’ profit per share, Pactual – Ptrue is the difference between the actual price and the price
   when news of the misconduct is first revealed to the public, expressed as a percentage of the actual share price at the
   beginning of the month. External cost is the sum of the monthly estimates of Area C in Figure 4. It equals the
   product of %New shares created by short sellers and Short sellers’ profit per share. The Net external effect is the
   difference between External benefit and External cost. Each variable is measured in each month of a firm’s
   violation period, and summed over all violation period months. The summary measures report the mean and median
   of the cross-section of firm-specific measures. The t-statistic is computed from the cross section of firm-specific
   measures.

                            Panel A: Using ABSI(2) to measure abnormal short interest (n = 359)
                                                                        Mean             t-stat                  Median
    % Shares sold by the firm and insiders                              45.65            4.61                     8.34
    Short sellers’ price impact, Phigh – Pactual (% of share price)      1.93            5.84                     0.11
    % External benefit (sum of monthly estimates of Area B)              1.12            2.15                     0.00

    % New shares created by short sellers                                        0.75           2.51               0.07
    Short sellers’ profit per share, Pactual – Ptrue (% of share price)         12.13           2.43              30.44
    % External cost (sum of monthly estimates of Area C)                         0.36           1.12               0.06

    Net external effect (sum of monthly Area B – Area C)                        0.76            0.99              0.00
    Net external effect using a lower-bound estimate of external cost           1.03            1.79              0.00

                            Panel B: Using ABSI(3) to measure abnormal short interest (n = 307)
                                                                        Mean             t-stat                  Median
    % Shares sold by the firm and insiders                              49.96            4.34                    10.33
    Short sellers’ price impact, Phigh – Pactual (% of share price)      1.97            5.56                     0.09
    % External benefit (sum of monthly estimates of Area B)              1.12            2.07                     0.00

    % New shares created by short sellers                                        0.80           2.54               0.09
    Short sellers’ profit per share, Pactual – Ptrue (% of share price)         10.95           1.91              30.77
    External cost (sum of monthly estimates of Area C)                           0.94           3.08               0.08

    Net external effect (sum of monthly Area B – Area C)                        0.19            0.38              -0.01
    Net external effect using a lower-bound estimate of external cost           0.89            1.73               0.00




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 Abnormal
 short
 interest,
 ABSI(1)




                Pre-violation          Standardized violation period                   Post-public revelation



                                  Figure IA.I: Stylized Pattern of Abnormal Short Interest

             This figure reflects the pattern of abnormal short interest around the beginning of the violation period
             and the public revelation of financial misconduct. Because different firms’ time to public discovery
             differ, we partition the period from the violation start to the public revelation into 21 pseudo-months
             (the period -20, 0) for all firms. The actual number of days in a pseudo-month differs across firms,
             such that all firms have exactly 20 pseudo-months. Month -20 is defined as the month in which the
             misrepresentation began, and Month 0 is when the misrepresentation was publicly revealed. The
             sample includes all NYSE/AMEX/NASDAQ-listed firms targeted in SEC enforcement actions for
             financial misrepresentation from 1988-2005 for which data on short interest, market capitalization,
             the book-to-market ratio, and momentum are available. This figure reports the results using our first
             measure of short interest, ABSI(1), but the results are similar using ABSI(2) or ABSI(3).




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                                  Figure IA.II: Stock Price Behavior After Revelation


   The figure plots the price paths over the 300 days around the public revelation of misconduct for the two groups of
   firms in our SEC enforcement action sample. The vertical axis is the cumulative excess return, and the horizontal
   axis is the day relative to the day when the financial misconduct is revealed to the public. Firms are partitioned into
   two groups based on the level of the first measure of abnormal short interest, measured at the end of the month
   before the public revelation of misconduct.




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                       Figure IA.III: Patterns of Abnormal Short Interest and Insider Selling

        This figure plots the abnormal short interest in the 40 months around the revelation of misconduct for two
        subsamples of firms. All firms are partitioned into two groups based on the average insider selling during
        the violation period. High insider selling group are those with inside selling above the median level of
        insider selling of our SEC enforcement action sample, and low insider selling group includes those below
        the median level. Month zero is the month when financial misconduct is revealed to the public. This graph
        plots the third measure of abnormal short interest ABSI(3), although the results are similar using ABSI(1)
        or ABSI(2).




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